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Case 2:04-cv-00163-WBS-GGH Document 62 Filed 04/05/07 Page 2 of 93

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA

LATEACHEEAH ANDERSON-SALVATTO Case No.: 2:04-CV-0016-WBS-GGH
AND RICHARD SALVATTO ) DECLARATION OF
} LATEACHEEAH ANDERSON-SALVATTO
PLAINTIFFS, ) AND RICHARD SALVATTO TO SET
) ASIDE MOTION OF SUMMARY JUDGEMENT
VS. ) ORDER TO DISMISS AND SUPPORTING
) DOCUMENTS
CITY OF VALLEJO, ET. AL.

DEFENDANTS

 

TO ALL OF THE ABOVE CAPTIONED DEFENDANTS AND TO THE ABOVE TITLED COURT:
WE, LATEACHEEAH ANDERSON-SALVATTO AND RICHARD SALVATTO, PLAINTIFFS IN THE

ABOVE TITLED MATTER DECLARE AS FOLLOWS:

We request that the order of summary judgment to dismiss our case to be set

aside.

We have attempted, in good faith, to comply with all discovery and or pre-

trial scheduling requests and will in good faith to comply with all future requests.

We feel that we have been wronged and wish to have our day in court,

having suffered through this matter since January 5, 2003.

We do not feel that we have been represented properly by counsel.

We believe that our counsel, Jeffery Fletcher, caused a motion for summary

judgment to dismiss to be filed against our complaint due to his inaction.

 
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We believe that counsel’s unprofessional conduct, immoral and unethical

procedures violated the code of professional Responsibility.

We believe that there is ample amount of evidence to corroborate my claims

that can be gathered and produced if the proper effort 1s made.

We believe that counsel’s misconduct as an officer of the court should not

prevent our pursuit of justice

We believe that counsel’s conduct can be made subject to disciplinary
sanction and not only the plaintiff suffers and made unable to pursue or recover

from the complaint filed and have thier day in court.

We declare, under the penalty of perjury that the forgoing is true and correct,
executed on April 5, 2007, under the laws of the State of California and the United

Sates, in the County of Solano, Sate of California

Pact os 04 Shab Aan Silialh

LaTeacheeah Anderson-Salvatto

Date: Y- 6-07 Cd Gara

Richard Salvatto

 
Case 2:04-Cv-00163-WBS-GGHl  DOcHiRee Ge atglied 04/05/07 Page 4 of 93

1114 Vervais Avenue
Vallejo, CA 94591

April 5, 2007

William B. Shubb

Judge

California Eastern District Court
4-200 Robert T. Matsui

United States Courthouse

501 | Street

Sacramento, CA 95814-7300 Re: 2:04-cv-00163-WBS-GGH
Salvatto vs. City of Vallejo

Your Honor,

It has come just to our attention, after contacting the clerk of the court, that a motion to dismiss
this case has been granted. | would like you to review the matter. It is unfair that our claim be
dismissed when we have made every effort and spent thousands of dollars in order to comply
with all court rules. | do not believe that our attorney, Jeffery Fletcher, had any intentions of
properly representing our case but only to defraud us out of our money.

| have never witnessed such a miscarriage of Justice before dealing with my case and the
actions, or inactions, of my attorney. | was unaware of the missed deadlines of pre-trial
scheduling as well as the defendants filing for summary judgment or the legality thereof.

| throw myself on the mercy of the court. Our attorney has lied to us regarding all matters of the
case.

You should also be aware that there are other cases of misconduct against Mr. Fletcher
currently being pursued by other clients of his. | believe that Jeffery Fletcher has not sufficiently
represented all of the facts of this case and | have been trying for months in vain to get any
clear indication from him of the status of the case or why the case has reached this critical point.

| believe that he should be disciplined not my case. | dealt with Mr. Fletcher and the court in
good faith. It was Mr. Fletcher who did not respect the courts rules and conducted himself in
such an outrageous and unprofessional manner. Please refer to document 47 flied December
13, 2006 by defendants. Your order to dismiss this case was dated March 27, 2007. | have tried
to make contact with Mr. Fletcher as he has not formally notified me that the case was
dismissed, instead he has just made requests for additional money.

| have attached a copy of a letter to my attorney to show that | have tried to maintain some
measure of influence over my case but | have been frustrated in that attempt. | would hate to
think that this case would be dismissed because it had not been pursued as forcefully as it
deserves. This is not what seeking justice should be about. | paid him to represent me, he
simply just took my money. | have enclosed documents which | feel should enlighten the court
as to the inadequate and unprofessional conduct | have endured at the hands of Mr. Fletcher

| still can not believe why a person such as myself could have been arrested when | was only
trying to assert my constitutional rights to file a complaint against a police officer. | have been a

 
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Letter - Califomia Eastem District Cou 007

businesswoman in Vallejo for years and ran for mayor of the city several years ago. | have
standing in the community. | can only feel that | was treated in this way because | am a black
woman. | feel | deserve my day in court to make my case. | have substantial support for my
position from an expert witness that my arrest was clearly unjustifiable on any grounds. He
points out that the most simple solution available to the police at the time was to allow me to file
my complaint and that would have resolved the situation.

Instead the police refused to entertain any meaningful communication with me and ignored my
repeated requests to be allowed my rights to file a complaint. | can only assume that the police
wanted to prohibit any such complaint as they knew they were in the wrong. My arrest was a
way for them to terminate what they saw as a threat.

| humbly request that you set aside the motion to dismiss and allow me the opportunity of my
day in court

— wr edlah Adee Lider Sllucth

Copy: The Honorable Gregory G. Hollows
Magistrate Judge
 

 

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Incident at Vallejo Police Headquarters
Sunday January 5, 2003

Affirmed Statement of:
LaTeacheeah G. Anderson Salvatto

Lateacheeah G. Salvatto
4114 Vervais Avenue
Vallejo, CA 94591
707-648-0635

email: rsalvatto@aol.com
 

 

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Anderson-Salvatto Sworn Statement - Page: 2

Incident at Vallejo Police Headquarters
Sunday January 5, 2003

My name is LaTeacheeah Anderson Salvatto. I was born in Vallejo and have lived here for more
than 40 years. I am married with two children of my own and I care for 5 others in my home as
either a foster parent or guardian. My husband is a Vice President of a major bay area
corporation. I have owned and managed businesses within this city employing over thirty people.
Three years ago I ran for Mayor; I am, what most people would call, a solid citizen. I mention
this because the following story is so bizarre, so out of date with modern society that I would not
want anyone to think I was a homeless bag lady in rags — who even then would not warrant the
kind of treatment | received at the hands of the Vallejo Police Department.

When J ran in the last mayoral election for this city, one question asked of all the candidates was:
“The city of Vallejo claims the police department needs to hire more officers to do a better job,
do you think Vallejo needs to hire more police officers’? I replied, “If the department re-trained
the police officers they all ready have to do their job properly it would appear that Vallejo had
hired new police officers”. My assessment of the Vallejo police department then and now is the
same.

WHY DIDI GO TO THE POLICE STATION?

J am the guardian for Jamal Thrower who is 16 years old and living in my home; he is treated
like a son. Jamal returned home upset and crying as a concerned parent [ asked him what was
wrong. He said, “I got a ticket riding the scooter.” | told him it really wasn’t a big deal, don’t
worry about it; but my words did not seem to help. “They arrested me put me in hand cuffs and
everything. I asked them could I call home and they wouldn’t let me” My four children whom
are under the age of 10 were seated having dinner as well several other teenagers. One of the
children asked “why the police did that to Jamal”? The other one said, “mommy you said the
police are suppose to help us”. One of my foster children yelled out “ that’s why my daddy hate
the cops they always want to take blacks to jail, isn’t that true mommy?” “Hey! what did I tell
you? We do not refer to police officer as cops in this house. Look, if you guys ever need help
you look for a police, they are here to help us when we need help. But sometimes the police
make mistakes. I decided that it would be best to continue the conversation with Jamal in another
room.

Jamal stated that he had been arrested and taken to the police station, fingerprinted as well as
having his photo taken. I asked what the officer said to him when he stopped him? He said the
officer mentioned that a police incident of some sort had occurred a few blocks away earlier that
day. What that meant and what it had to do with Jamal I don’t know. I calmed Jamal down and
discussed the issue with my husband.

My husband and J were both concerned as to why Jamal’s request to telephone home was denied.
We were under the impression that the law is clear regarding the treatment of a minor while they
are in police custody. Our basic assumption was: The police must notify a minor(s) parent or
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Anderson-Salvatto Sworn Statement - Page: 3

guardian immediately and they should make every effort to contact a parent or guardian
immediately. It was decided that in the best interest of our family one of us was obligated to go
down to the police station and sort out what took place. I personally was looking forward to
telling the kids that everything is fine and always trust the police. I refused to leave them with a
negative impression about the police; it conflicted with all that I have taught them. Leaving my
children in a state of confusion about the police was not an option. Such confusion could be
detrimental to their development.

WHAT HAPPENED AT THE POLICE STATION?

It was dusk when Jamal and J arrived at the police station. To my surprise the station was closed.
I peered through the window and read the hours 7am to 7pm. Jamal said, “I think you have to use
this white phone”. I pick up the telephone a lady who referred to herself as Mary answered and
asked how could she help me. [ explained to her that a police officer arrested a kid on Springs
Road about an hour ago. Mary interrupted and asked what’s the name? I replied Jamal Thrower.
Mary said, “The officer is on his way in” and hung up. I looked at the telephone and hung it up.
Again I peered through the glass wondering why the main police station is actually closed, it was
not yet 7pm.

The sunlight has completely disappeared, the wind seem to cut right through the leather coat J
was wearing. | thought about my big thick weather resistant suede jacket. A car passed and
people yelled obscenities and threw something from their car toward the station. I immediately
ran to the telephone and picked it up, Mary was on the line. I asked if we could wait in the lobby
and told her that not is it only cold out here but you have people passing yelling obscenities and
throwing things at the station. She stated that the lobby was closed. I said, “it’s not safe for any
one to be out here and it’s cold can’t we wait in a room, I’m sure there is somewhere we can wait
other than out here”. “Well the lobby is closed” Mary replied. “The sign reads open 7am to
7pm,” I said. Mary interrupted me and stated “Yeah well that’s through the week days, weekends
and holiday we’re closed”. I asked, “ This is police station, what do you mean you’re closed?”
Mary replied with an audible sigh then stated, “I’ll check with the watch commander”, and hung

up.

More time elapsed; a man drinking from a bottle partially wrapped with a brown bag stumbled
by using a couple of the station steps as his pathway. Fear has a way to bringing reality into
check. I could not believe that I live in a city of over a hundred thousand people and the main
police station was closed. I’m standing here freezing and afraid. Again I picked up the telephone
as I commented to Jamal what a shame that a tax paying citizen or any citizen for that matter
could feel so unsafe waiting in front of their police station. Mary answered. | stated “hey I’m still
out here in the cold, waiting, it’s really not safe out here...Mary interrupted “look you don’t have
to keep calling back here every two seconds! I told you I would let the watch commander
know!” and hung up the telephone.

I picked up the telephone again and ask, “Why are you speaking to me like”... Mary abruptly
hangs up. I pick the telephone up again I get a busy signal, I hang up and pick the telephone up
again and ask, “Why are you hanging up?” but before | could finish asking the question Mary
has already hung up the telephone. I picked up the telephone again and get a busy signal. This

 
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cycle repeated itself at least 3 times before I gave up. I wanted to breakdown and cry but I can’t
because Jamal is already upset. I believe he was embarrassed for having to witness someone he
believes in and respect treated so disrespectful. Very few words were spoken between us; we just
mostly shook our heads in disbelief. My soul began to feel bad, a rotten feeling settled in the pit
of my stomach.

More time passed and finally two officers appeared and the sliding glass doors opened. |
immediately stepped into the building, breathing into my hands as I rubbed them together trying
to warm. A thickset man who identified himself as the watch commander spoke first, “Ah what
can we do for you?” From this one sentence, I some how knew this was not a peace officer. I
ignored the man’s tone and decided to act in the positive. “Hi! My name is LaTeacheeah
Salvatto, I’m here because Jamal was stopped by one of your police officers and I would like to
talk to him about what happened. The lady on the phone said he’s on the way. I would like to
wait inside”...the watch commander looked at the other officer then abruptly interrupted me, “
Look you’ve been told that the lobby is closed, you keep picking up the phone”. I interrupted
“Hold on, hold on you don’t have to talk to me like that, what’s the problem? I’m just a mother,
coming to check on a kid. Not only is it cold out there, but do you guy’s realize that a citizens
would have a better chance of getting help from one of the houses around here before they would
get help from the police. All I’m asking is that you let us wait here inside”, again the watch
commander interrupts, “The lobby is closed you need to step out”. I understood at this exact
moment as far as the commander was concerned my being at the police station was no longer
about Jamal.

In an instant the entire issue and conversation was simply about me being in the lobby, as if I’ve
been standing in the lobby for 3 or 4 days. My mind was shocked by the dialog and attitude of
this commander. The commander’s demeanor was shameful, I had to remember, nothing truly
valuable arises from ambition or from a mere sense of duty; it stems rather from love and
devotion towards men and toward objective things. Then | thought of Trent Lott. “ I know that
you guys have made that abundantly clear, but surely there is an office available”. “ You need to
step outside” the commander insisted and again looked at the other officer, the other officer
stepped toward me and pushed me toward the door with his elbow. I put my hands up and
motioned to the officer to stop, I was afraid and J told him. “Please officer you don’t have a right
to touch me, if I did that to you; you would charge me with assault. Will you please step back
you're scarring me. I didn’t do anything I don’t understand why you guys are treating me this
way. This is.a-police department, you’re police officers. People are driving by yelling obscenities
and throwing thing out of their cars, drunks are wondering by (at that very moment a man
staggered by). Look it’s dangerous and I’m afraid, it’s not safe to stand out there. I know there is
a room where we can wait”. The commander shouted out “ Yeah I gotta room, a holding cell
room and that’s where I’m going to put you in a minute”.

The other officer said “or maybe you need to be somewhere else, you maybe a danger to yourself
maybe you can’t take care of yourself”. These words really scared me. If my memory served me
correctly this officer just threatened to commit me to a mental institution for a minimum of 72
hours for a mental evaluation. After the evaluation the institution has the option to hold you for
an additional 10 days. This is an involuntarily commitment, meaning my husband or I would be
not able to sign me out during the entire 13 day period. Wow! Wow! This is real; this officer
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really has the power to do this to me under the disguise of safety code 51-50. It’s not so much
being prejudiced, I mean I could not care less if this same man who is standing in front of me
owned the hamburger joint down the road. As long as | do not enter his business there is an
overwhelming possibility that his prejudice will not affect me. The fact that he his a police
officer shed a different light on the situation. This person is a prejudiced police officer with
authority. Prejudice plus authority is the epitome of discrimination. Moreover, illegal intuitional
discriminatory practices are reproduced through the personification of these avenues. | then
thought these are the same tactics used by the Nazi Gestapo.

“What are you trying to say; you’re going to 51-50 me? This is absolutely ridiculous; I pay 68
thousand dollars a year in taxes to get treated like this”? The commander shouted out “Yeah right
so do J.” J ignored his insinuation that I’m lying about my tax bracket and continued talking to
the officer. “I’m a human being why are you guys treating me like I’m an animal? Why do I have
to beg to come inside my local police department to take care of official police business? Please
will you just find us a place where we can wait”? Other officers began peaking into the lobby,
one officer entered into the lobby with a tape recorder, after a moment the area was clear. “It’s
not safe to stand out there”. Once again the commander spouts, “Look I’m tired of talking to you,
you either leave this lobby now or I’m going to arrest you”. “Arrest me? You’re going to arrest
me? For what?” “Trespassing” he bellowed. “Trespassing? How does coming to a police station,
trying to handle police business make me a trespasser? You’re the police, I’m afraid to stand out
side because cars are passing yelling obscenities and throwing things, drunks are walking by. No,
I’m not waiting out there”.

The commander looked at the officer and before I knew it the officer moved toward me and
began trying to push me out the door. “Hey what are you doing? You don’t have the right to hurt
me”. My feet were planted somewhat firmly; the officer noticed this and moved in closer and
places his knee upon the side of my thigh and kick my right foot with his shoe/boot. I was
knocked off balance and the officer continued to push me out of the building. Tears were in my
voice but I could not let them see me cry, the commander said, “Now if you keep it up I’m going
to arrest you” “Why do you want to arrest me?” The other officer spouted out “TI guess it’s the
season”. They both backed up and the automatic doors closes as they stood smiling.

Jamal and | said simultaneously “It’s the season”. | said to Jamal ““You know what he meant by
that?” Jamal responded, “Who wouldn’t, it’s the season for arresting niggas”, we both shook our
head. Jamal adds, “This don’t seem real, it’s like something you see in the movies about the
South in the 1950’s Why are they acting like that?”

My foot was throbbing and I just wanted to leave, | felt like I had gone through too much. I
looked at Jamal and realized that I had not spoken with the officer who arrested him. Foot
throbbing, it’s dark, it’s cold and I’m truly scared. I pick up the white telephone Mary the
dispatcher from hell is on the other end. I say, “Would you let the watch commander”, she hangs
up the telephone. The next time I pick up the telephone the line is busy.
Case 2:04-cv-00163-WBS-GGH Document 62 Filed RAésQes0sho rATGabheAll. PRe: 6

THE ARRIVAL OF THE OFFICER WHO ARRESTED JAMAL

The officer | wanted to see in the first place arrives and the sliding glass doors open. I walk to
enter the lobby, the officer and the watch commander quickly walk toward me and let the sliding
glass door close. “Can’t we talk in there? This is ridiculous. Jamal is this the officer that arrested
you?” Jamal nods yes. | turn to the officer, “why did you arrest him?” The officer responded
immediately, “because, he did not have any ID”. “He’s a kid what kind of ID do you want him to
carry, his birth certificate, social security card what? Forget about that, why didn’t you let him
call home once you arrested him and brought him to the station? He’s a minor you know you’re
suppose to let them call home, you know it.” “If you would let me talk” the office looks at Jamal,
“is this your mom”? Jamal must have gestured in the affirmative, “Could you tell her shut up so I
can talk?” I thought to myself you think you have so much power that you can order a kid to
disrespect a parent, he turned back to me and said “ No you’re wrong, you don’t know what
you’ re talking about”. I said, “What are you saying? You can just take any kid off the street
arrest them, place them in cuffs, photo and fingerprint them. As well as deny the child the right
call home, is that what you are telling me?” The officer responded, “yes”. I responded, “No, no,
no you’re wrong and you know you’re wrong, you know you’re not supposed to do that.” The
officer quickly responded, “We can do anything we want to do”. The watch commander says,
“that’s right and we’re not talking to you any more, this conversation is over.” I could not
believe that this was happening! I thought this guy must be an idiot, a real idiot. : What’s your
name?” “Do you have a card or badge number?” Give me your name as well as the officers’
name who pushed and kicked me”. “My name and badge number is on the Ticket I gave your
son,” the arresting officer said. The watch commander gave me his card and said, “You got all
the information”. Both the watch commander and the officer walked away, down the pathway. I
said, “It’s unbelievable to think that you’re the watch commander. You should take that uniform
off. You are a disgrace to every virtuous police officer that wears a uniform. You should not
work as a police officer and have any authority over people, your abuse of power is beyond
belief.” “You don’t have what it takes. Where is your integrity? Take the uniform off you racist
and put on your sheet and burn a cross!”

UPON RETURNING HOME

I told my husband what had happened at the station and he was stunned. He said, “The officer
pushed and kicked you? That is assault plain and simple you need to file a formal complaint
against that officer and right away, they can’t get away with that in this day and age”. I asked my
husband to call the police and have them come out to the house so that I could file a formal
criminal victim’s assault report. I handed him the card the commander gave to me, the card read
Tom Liddicoet, lieutenant, badge #379 as well as provided the telephone #(707) 649-5459,

My husband went into our home office and returned a few minutes later. He said he had left a
message and the officer’s voice mail indicated that he checks his messages throughout his shift.

Reality hit me, tomorrow was back to school for the kids. The kids had not taken their baths, I
have not washed my daughter’s hair and I’m hungry. I remembered that I was to take a couple of
visiting kids home and they lived on the other side of town. My husband offered to drive the kids
home and I ran bath water for the boys and washed my daughter’s hair. I was drying my
daughter’s hair when Monique, a teenager who lives in my home, brought me the telephone and
Case 2:04-cv-00163-WBS-GGH Document 62 FilekhdaddhS4Qatto RAG) Stalemedail- Daye: 7

said, “It’s the Vallejo police department, a lieutenant asked for Mr.Salvatto”she handed me the
telephone.

“Hi, this is Mrs. Salvatto and | was assaulted by one of your police officers”. For a brief second
the lieutenant displayed a voice of concern, “You were? Where? When?” he asked. I was
convinced in my mind that the lieutenant believed he was speaking with a woman he’d never
met. I would go as far to say that I felt there was a 99.9% chance that the lieutenant for a brief
moment in time thought he was speaking to a white woman as well. Those four words were as
genuine as any police representative could have spoken them. The lieutenant did not associate
my black face to the voice he heard in that brief but fair and nonjudgmental moment. This often
happens to me when my white husband calls and leaves a message to have his telephone call
returned. A white man’s voice (to make such an assumption is racist in it self; but most people
engage in this subliminal racism every day), so he must have a white wife. The consciousness of
racism is subliminal yet it dictates the deepest parts of our being, our mind our heart our soul.
The true value of a human being is determined primarily by how he has attained liberation from
the subliminal self.

“A few minutes ago you were there, you witnessed it. This is Mrs. LaTeacheeah Salvatto [ just
left from there”. The lieutenant actually made a hideous grunt. I can only relate it to the fact that
it clicked in his mind and he related the voice to the black face of the woman. From this point the
conversation deteriorated, seem like the only thing the lieutenant could see is the color black
again. “I want to file a criminal assault report. Would you send a police officer to my home
please”? There was silence, “ Look this is the least you can do, I have the right to file a report.
I’m a victim of a crime you cannot deny me this right, all I need for you to do is send an officer
to my home to take a report”. After a few seconds he said, “Well, Pll send you a citizen
complaint form through the mail” I responded “No J don’t want to file a citizen complaint form. I
simple want to fill out the normal criminal assault report. Will you please send an officer out”?
He said in a loud angry voice “I’m not sending an officer out anywhere!” I asked, “why not?
I’m a victim of a crime I want to report it. Once again he repeated himself in the same tone, “I’m
not sending any one out! I said, “Okay, okay that’s alright you don’t have to send any one out,
Vl] come down. May I do that? Is that okay? Hey all I want to do is fill out the report”. Before
I could complete my sentence again he spouts out “I ain’t sending nobody out I know that!” I
instantly visualized an overweight, guy sitting back with his feet on his desk, sucking on a tooth,
cleaning underneath his fingernails with an old switchblade knife. Again I ask, “May I come
down there? Is it okay may I come there to fill out the report? Finally he murmurs, “ yeah, I
guess”. My response, “great I’ll be right down”.

I finished drying my daughter’s hair, by this time my husband had returned home. I told him that
the watch commander had returned his telephone call, and he said it was all right to come down
to the police station to fill out the report because he was not going to send an officer out to the
house.

This time | decided to wear the coat I was thinking about while I was standing in the cold earlier.
| also thought it would be in my best interest to bring along a tape recorder. My coat has an
inside pocket. I clipped the recorder on the exterior of the pocket the clipping device occupied
the interior of the pocket.
Case 2:04-cv-00163-WBS-GGH Document 62 Filed PAsneiOutc mrAGAatkiieAl Bae:

MY RETURN TO THE POLICE STATION

I parked my car in a green zone directly underneath a sign that stated 1 hr-parking 7am to 7pm
except on Sundays; since it was Sunday I should have no problem. I sat in my car thinking about
the events that lead up to this point. This was a very sad moment for me because J am a police
academy graduate. I have always held police officers in high admiration because there is one
thing I know for a fact. There are very few police officers that put their uniform on for the first
time and looked in the mirror and said, “I want to be a bad cop”. They just turn that way. I
thought about several other things then thought about me, I got out of the car, locked it and
proceeded up the steps.

I picked up the white telephone, “Hi this is LaTeacheeah Salvatto I was told by the watch
commander to come and fill out report he’s expecting me”. The lady responded, “He’ll be right
with you. About 3 to 4 minutes later a police officer, I had not had any contact with before
appeared at the sliding glass doors. I thought great! It would be somewhat a conflict of interest to
fill the report out with the commander when he is actually a witness, I was relieved that it would
not be an issue. The officer imadiately blocks my passage into the lobby. I could not help but
notice how determined each and every officer seem to be in keeping me out of the lobby. Is this
what our police have become? They have bulletproof window, armed with tear gas, ammunition,
guns and an abundance of manpower and they choose to lock the public out, barricade
themselves inside.

The officer had a sheet of paper in his hand. He angrily said, “Here!” I said, “No I’m, here to fill
out a report. The watch commander is expecting me”. The officer responded, “I’m the watch
commander and you’re not filling out no report, here mail this back”. “No, that’s not what I
came down here for; [ came here to fill out a criminal assault report The other commander told
me to come down here to do this”. The officer quickly stated, “That’s not true, that’s not true he
didn’t tell you that, you weren’t even assaulted we’re not filling out no report”. “Who made you
the judge and the jury you have no idea what happened earlier, you weren’t there. What is
wrong with you people? I’m a victim of an assault, I want to file a criminal assault report, this is
a police station may I please file the report it will take all of 5 minutes. I have the right to file the
report it’s not your job to evaluate the validity. Your job is simply to fill out the report”.

The officer notice the tape recorder and became upset he said, “You gotta tape... you been
taping this whole conversation with out my permission, is that what you’ve been doing”? I
looked down and honestly had forgotten I had the recorder with me. I thought to my self what an
idiot, all this time you didn’t even have the tape on. But the officer made me feel much better
about myself as he went on ranting about his rights of all things! If the officer would have
calmed down for a moment I had every intention of telling him the recorder was not on. The
officer’s irate behavior attracted the attention of one of the other policeman in the building. This
officer immediately told the other policeman when he entered the lobby, “Be careful what you
say, she’s wearing a tape recorder”. I thought it odd the officer did not have the presence of
mind to check and see if the device was on. It is common knowledge that today recording device
only record when the red indicator light is on.
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Anderson

I say to the officer “Hey get a hold of yourself, calm down, can we just please fill out the
report”? If looks could kill I would be one dead woman that office leaned forward, squinted his
eyes, stared in to my eyes, his nostrils flaring, his teeth gritting, he said in the most evil tone
“We're not filling out no report here!” The officer then backed his way into the lobby and
allowed the sliding glass doors to close.

I was just standing there; I’m just standing their thinking twightlight zone. I’m thinking why did
the watch commander call my house and tell me to come down? What was going on? I picked
up the with phone “Hi this is Lateaceeah Salvatto and I would like to speak to the watch
commander I believe his first name is Tom. The lady on the other end of the line responded, “
He gone for the night” I asked, “Could you ask the other watch commander to come back out I
would like to speak with him’? She says, “He told me he’s not going to talk to you any more”, I
cannot believe this. I then ask, “May I speak to the chief please”? ‘“He’s not in” the lady
responded. “Yes, I know that, I would like for you to call him”, I said. She said, “We are not
calling the chief for something like this”. This appears to me to be an exact situation to call the
chief. You have a citizen who’s been assaulted by a police officer; none of the on duty police
officers will allow the victim of the crime to fill out an assault report. The victim requests you
call the chief of the department. I would think a chief would want to be notified if every
available officer on the force refuse to write a criminal report when a crime has taken place and
the assault victim is standing in front of the police department pleading for any office to write the
report. You do not have to be a rocket scientist to figure this one out. Who else can the victim
turn to at this point?

I thought it both unbelievable as well as unfortunate those decisions to deny such request sit
squarely upon the shoulders of the dispatcher. “ Look lady I have been assaulted all I want to”
before I complete the sentence she hang up the telephone. Oh no not this again, are this people
for real? I wait a few minutes and picked the telephone up again. “ My name is Mrs. Salvatto
I’m a victim of an assault and I would like to report the crime. I’m right in front of your building
would you please send an officer out to take the report, any officer”. The lady does not respond
she hangs up the telephone. | waited for a while and picked up the telephone and let the lady
know that I was still out front waiting for the officer. A little while later two officers appeared at
the sliding doors.

The older officer came out with his index finger pointed at me. “Look you are bothering our
work, you need to leave! You been here all night bugging us, if you don’t leave I’m going to
arrest you for trespassing” I responded, “Officer, I did not come here to cause a problem I came
here to fill out an assault report. I was told by the commander come here and fill the report out. I
get down here and all I get is grief. Will you just please take the report? With a beet red face
and noticeable halitosis he leaned forward. “No, we are not going to take no report. You need to
leave or I’m going to arrest you”. I responded, “I doubt that because that would mean you would
have to fill out a report” He said, “ I’m through talking to you! I’m gonna count to ten. I said,
“What you’re going to count to ten? Is that the professional way the academy taught you to
resolve police matters? You’re going to count to ten, what is that suppose to mean to me. That’s
something you say to a kid. Why are you talking to me like I’m a kid? You’re going to count to
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ten, and what happens when you get to ten? The officer arrogantly replied, “I’m going to arrest
you!”

I shake my head in disbelief, and mutter to myself as I walk down the stairs to my car “I can’t
believe they would rather put me in jail than fill out a report”. The officers followed me down to
the sidewalk aside my car. I stopped and said this is unbelievable I have to call my husband. |
retrieved my cellular telephone from my coat pocket. Suddenly the officer who had threatened
to count to ten leaped forward grabbed my cellular and snatched the tape recorder from my
inside pocket all in one move and said, “You ain’t calling’ nobody”. For a minute | thought I
was being robbed by a police officer in front of the police station. The officer began pressing
and pushing buttons on the recorder. After a few minutes he says to the other officer, “Put the
cuffs on her.” I say, “You people have got to be living in another world.” “ The officer repeated
the command to the other officer; “Put the cuffs on her.” | got the impression that the young
officer was surprised at what was going on. He appeared like he really wanted to object. A part
of me just wanted that young officer to be heroic and stand with integrity and say “If you want
her under arrest you do it”. But obviously if the situation had deteriorated to the point of where
it is now, there is very little hope that such a thing would happen. The officer placed the
handcuffs on me.

As hard as I tried to stand with dignity and pride my innermost self was fragmented. I’ve spent
40 years of my life being a law-abiding citizen I’ve had one-maybe two contacts with the police
in my life, guarding my freedom with care. | go to the police for help, instead they would rather
lock me up than do their job. The other officer searches through my purse he stopped searching
and asked, “Is this your car? He then demanded I give him the keys. I said, “You don’t need the
keys to my car. I did not commit a violation in my car”. He responded, “Hey you’re under arrest
I’m going to impound your car, where’s your registration”. The officer then walked up to me and
placed his hands in my coat pocket and retrieved my car key, unlocked my car and began
searching it. I said, ““ You don’t have to have my car towed, why are you searching my car? I
can call my husband and he’!l be here within 5 minutes to pick the car up. Wait a minute what
are you arresting me for? Trespassing? Isn’t trespassing a citable offense”. “Not for you, you’re
going to jail” said the officer. “‘ Look you don’t have to tow my car, I have AAA they will come
and remove the car. The car is not parked illegally. Why are you going out of your way to
mistreat me? You know you don’t have to tow my car,

It was clear to me that the only reason I was arrested and my car towed was to teach me a lesson.
The police are in charge, they can do whatever they like whenever they want. They made their
point, now what do I tell my children? What do I tell any of the children? My story has changed
the facts are different. What am I suppose to tell my children? I am afraid, how do I teach them
not to be afraid? My spirit is broken. The same broken spirit a slave might have felt after being
whipped for trying to run away; caus’ he didn’t wanna be no slave no mo’.
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TRANSPORT FROM VALLEJO POLICE DEPARTMENT TO SOLANO COUNTY JAIL

After being searched, striped of all personal items such as jewelry, writing instruments; all
personal property, questioned, (They never read me my rights, by the way.) photographed and
fingerprinted I was placed in a cell. When the police opened the large door I felt myself resist, I
was so scared to walk across that threshold. But now was not the time to break. I knew if I made
any move away from that cell these good for nothing “COPS” would add resisting arrest the
charge. My heart was pounding, I laughed at the thought of me referring to the police as cops.
As I crossed the threshold of the jail cell all I heard in my head was, “that’s why my daddy hates
the police because they always lock the black people up”. How right that kid was. The large
door shut and the keys triggered the sound of a click and a lock. I thought instantly that now I
have become part of a statistic, another black person that has become part of the criminal justice
system. I thought that the only reason I would ever end up in jail was for manslaughter. I would
take a life to protect mine or my family, or any child in imminent danger. Short of that scenario
freedom is everything to me, so many people died for me have it. We are in the mist of a war
and the rumors of war are being talked about through out the world. Still people are dying for
my freedom and democracy. I guess at some point you understand that “If you don’t stand for
something you'll fall for anything”.

I finally lifted my head to notice that I had a cellmate. Her eyes were beautiful, she smelled of
alcohol. She looked like she had seen only the rough side of the mountain. Her face was pale,
with deep wrinkles. I think alcohol got the best of her it’s unfortunate that people abuse
themselves in such a way. My foot was throbbing, I heard the lady’s tummy growl, she then
commented on how hungry she was. She told me that she had been in the cell for over 7 hours
and that she was starving. She told me that she asked for something to eat and they told her that
they do not have any food at the police station and the that she would have to wait until she taken
to the county jail before she would get anything to eat, I remembered I had some raisins in my
purse. I got up and knocked on the door and got the attention of the cop who cuffed me. I said,
“The lady in here says she’s been here for quite sometime and she hungry” he interrupts, “Yeah
well nothing I can do about that we don’t have any food here”. I said, “could you give me my
box of raisins, I am willing to give them to her. Then J said, “I need my medicine from home,
I’m suppose to take it every 4 to 6 hrs. Would you please telephone my husband and tell him to
bring my medication. I really need it; look my feet are swollen, please call my husband and let
him bring me my medicine, may I have the raisins? The cop smiled, shook his head, and walked
away.

The large door swung open and a petit woman walked into the cell. I yelled out that I needed to
make a telephone call as the slamming sound of the door echoed in my ears. The petit woman
pointed to the telephone receiver in the wall, and I do mean quite literal there was a receiver of a
telephone protruding from the wall, about three feet from the floor. The woman gives me
instructions on how to use it. She told me to press the red button, informing me that if I release
the red button the telephone call would disconnect, she told me to stoop down, listen for the dial
tone because it is very faint then dial your number, She then advised me to hurry; we were about
to be transported to the county jail in Fairfield.
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A short while later the cell door swung open, a very large woman entered the cell, her hands
were shackled to her waist. The cop called the petit woman out, leaving the door open. Within
minutes she returned to the cell with her hands shackled to her waist. The cop called my name; I
walked out of the cell and was instructed to hold my arms up. A chain was placed around my
waist a cuffing device was used to secure my wrist to my waist. All this and they would still
shoot me if I tried to escape. This is not a good experience to humiliate to dehumanize to chain
me to lock me up under such circumstances is hate. If the police would have treated me like a
human being none of this would have taken place. This all came about because I asked anther
human being to treat me in a humane manner. Let’s forget for a moment that we are talking
about the police department. I had business to conduct in the building, I asked another human
being to let me wait inside the build because | was frightened to wait in the dark. There must be
something dangerous regarding the front of building because the entire front window is bullet
proof. | spoke to at least four human beings any of which could have granted the simple request.
None of them thought enough of me as a person or a human being of any being to grant my
request. How would people react if black officers treated the white mother, wives, daughters,
sisters or grandmothers in the manner in which I have been treated?

I was the first woman to enter the back of the white van to be transported to the county jail. If
you didn’t feel like animal up until this point, stepping into this van took you there. The van is
totally aluminum; an aluminum wall of some sort separated the van in two. A cop kept repeating,
“Women to the left men to the right, watch your head”. Although I had my large coat on the
aluminum was cold to sit on. Immediately the 7 other detainees started demanding heat. They
had every reason to, the van was really cold. One lady commented on now we all know what it
would feel like to be frozen alive. The man on the other side of the wall yelled, “You tumed the
air on, turn the F---in’ air on. It’s freezing’ back here, turn the heat on you F---in’ B----. This
was a turning point. I had not feared for my life as much until this point. Without warning
everyone started gripping about the heat. The elevation of audio level had gone from 3 to 10+ in
a matter of two seconds. It was total chaos it stayed at this level what seem to me at least a
minute, maybe more. What every amount of time it was it was much more time then the female
cadet officer was trained to handle. She started yelling at the top of her lungs “Shuuuuut
uuuuup! Shuuuuut uuuuuup! Shuuuuut uuuuup! She began shaking her head and closing her
eyes still yelling more shut ups, her facial expressions told the story as she pounded her fist on
the steering will. | mean this girl really lost it | was watching her and she definitely lost
professional control. I yell to the young cadet “Hey! Hey! Open your eyes! Keep your hands on
the steering will. This is not how I will die, grab a hold of your self”. This was the longest ride.
I felt very lucky to have made it safely to Fairfield jail. I just kept visualizing the movie the
fugitive the scene were the bus transporting the criminals; such we are, and they wreck. The ride
scared me there was nothing I could do to save myself if this out of control, immature cadet
cannot get a grip. I’m chain in the back of a locked van. I thanked the Lord for letting me arrive
to the jail safely.

1 was the last person out of the van, the female sheriff officer said to me “Hey I'll take you first”.
The shackles were taken off and I was searched again. I was lead into what appeared to be a
nurse’s station. A lady who spoke broken English started asking me questions regarding my

 
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health and other personal question. At one point I told the lady that I was finish answering her
questions, I had become frustrated because she acted as if she could not comprehend my
answers. I told her “for get it you’re writing what you want to write”.

I was then taken to another holding cell. This time there were two telephones, which allowed for
only collect calls to be made. | called my home and finally talked with my husband. As a matter
of fact I called him several times, oddly enough when you’re locked up all you want to do is talk
to some one who is free. ] over heard the supervisor ask “why did they bring her here? This is a
cite and release offense. After a while, the sheriff removed me from the cell and placed me in
private cell at the end of the hallway. The sheriff warned me as she walked me to the other cell
that I should not be telling people that I am not being treated well. I knew exactly what she was
talking about. My husband must have called and reported that I said that the toilet was stopped
up and I needed to use it. The sheriff went on to say, “if you’re good you may get out. But you
can’t be around here giving me no hard time”. If; I am good, is that what dictates your freedom
once you are incarnated at this level. The law has nothing to do with whether or not I would be
freed these people have to like me. The sheriff went on to say, “Your bail is sixteen hundred
dollars”, | interrupted and stated, “My freedom is only worth $1,600. The sheriff then interrupted
my and stated, “Well, not quite all you have to do is pay 10%. I said all this for a hundred and
sixty dollars? She then asked, “If things worked out are you going to bail out”? I replied, “Pay to
get out of here? You have got to be out of your mind. I wouldn’t pay ten dollars to get out of
here. I shouldn’t be in here at all. I’m not paying a dime in a fine to get out of here. That would
go against everything I believe in. I’ll rot in here before I pay a penny to get out. Now if you
want to let me out on my own recognizance II] be more than happy to leave, short of that you
guys need to figure out what you are going to do so I can call my husband and let him know
something”.

The sheriff came back in and told me that they were releasing me without bail (on my own
recognizance) as should of happened in the first place. 1 am to appear in court Jan, 27, 2003
having been charge with violating section 602.1(B) of the penal code.

All of this was because the Vallejo police abused their power. They would not have done this if
they just wanted to ticket me for a minor offense it was done with malice aforethought. They
wanted to make sure I knew who had the power to make my life miserable. They wanted to
intimidate me, to scare me, to terrify me. They had thought I was taping them — they wanted to
get rid of any evidence of what they had done, what they were trying to cover up.
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Jeffery,

LaTeacheeah called me and told me about this in general and form your email I
understand the details better.

My only question has to do with the fact that I was under the impression that the $6,000
we have paid you already was supposed to cover

any expenses to do with depositions and such. Are you saying that those funds have been
exhausted already? I think we need to talk about that. As far as I know

you have only done 5 or 6 depostions so far...at $500 each there should be sufficient
funds to cover the expert witness. I am traveling but you can call me on my cell phone
(415-359-3498) and we can discuss this.

I do not see any reason why you could not forward the papers to Mr. Dusenbury today
and, if necessary, I can arrange for payment to Mr. Dusenbury.

Richard D. Salvatto | Director Analytic Solutions | Fair isaac Corp.
200 Smith Ranch Road MS-SRN. San Rafael, CA 94903
Phone: 415-491-5187 | Cell: 415-359-3498 | Fax: 415-492-5691
richsalva Ari 26

 

From: Jeffrey Fletcher [mailto:jefffletcher@email.com]
Sent: Tuesday, November 14, 2006 10:43 AM

To: Salvatto, Richard D (Rich)

Subject: expert witness retention

Mr. Salvatto:

Our opposition has retained an expert witness to testify that the arrest and detention of
Mrs. Salvatto was proper. We have the right to have an expert to rebut their expert
witness. I have found David A. Dusenbury, who was one of several that I have talked
to. Mr. Dusenbury's web site is dwww.dusenburypolicesecurityexperts.com. I have
already designated him as our retained expert. He must now review the depositions
and other documents in the case and write a report by November 22, 2006. His retainer
fee is $2,500, which must be paid immediately. You can refer to his web site and see his
experience, fee schedule, and CV. Once you give me the OK, I will send him the
documents that he needs to write the report. It needs to be Fedex'd today. If you agree to
use him, we can arrange for you to send him the check directly. Of course, he will not
start without the check. I look forward to hearing from you.
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Jeffrey Fletcher

Altorney Al Law

ATTORNEY CLIENT AGRREMENT |

JEFFREY FLETHCER, ATTORNEY AT LAW (“Attorney”) and RICHARD
SALVATTO, LA TEACHEEAH SALVATTO, and JAMAL THROWER, a minor
(“Client”) hereby agree that Atiorney will provide legal services as set forth below.

}, CONDITIONS. This agreement will not take effect and attorney will have no
obligation until this agreement is signed and the retainer is paid to Attorney.

2. SCOPE OF SERVICES: Attorney is retained to provide representation in the
matter relating to an already filed lawsuit against the City of Vallejo and
others relating to a claim of violation of Civil Rights. Attorney will represent
client through trial and through any settlement negotiations whether they be

by mediation, arbitration or other settlement procedure.

3. RESPONSIBILITY OF PARTIES: Attomey will provide legal services
reasonably related to protecting Clients’ interests and will respond to Clients’
inquiries and will advise Clients of the development of the case. Client agrees
to be truthful with Attomey and to provide information to Attorney and to pay
any invoices that are required of Clients, and to keep Attomey advised if there
is any change of address or telephone number.

4, LEGAL FEES: Client agrees to pay Attorney an initial retainer fee in the
amount of $5,000.00 (Five Thousand Dollars). Attorney will also be entitled
to be compensated for a percentage of 33.3% of a net recovery. A net
recovery is the total of ali amount recovered by way of settlement, judgment,
arbitration or other disposition, including an award of attorney’s fees, minus
all costs and disbursements.

5. NEGOTIABILITY OF FEES The fees discussed are not set by law but are
negotiated between Attorney and Client.

6. COSTS: Client agrees to pay for the costs of the depositions in this case.
Attorney will not bill separately for those ‘expenses from Client except as an
attorney fee if there is a settlement or other form of judgment.

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7. SETTLEMENT: Attorney will not make any settlement without Client
authorization. Clients retain the absolute right to authorize any settlement.

8. WITHDRAWAL OR DISCHARGE: Client may terminate Attorney’s
services at any time with written notice. Attorney may withdraw from the
case with (a) client consent, or (b) court approval.

9, EFFECTIVE DATE: The date that this contract becomes effective is the date
that attorney begins to work on the case on behalf of Client. The date signed
on the contract is for reference only.

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™ Richard Salavatto

Date: LO

 

Date: Yes,
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David A. Dusenbury & Associates
2501 Temple Avenue

Suite 308

Signal Hill CA 90755

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Case 2:04-cv-00163-WBS-GG Filed 04/05/07 Page 24 of 93

Jeffrey Fletcher

Attorney At Law
October 14, 2005

VIA FACSIMILE AND U.S MAIL (916) 553-4141

Donald D. Beury

Attorney at Law

1006 Fourth Street, Suite 307
Sacramento, CA 95814

Re: LaTeacheeah Salvatto v. City of City of Vallejo
Dear Mr. Beury:

I have been retained by LaTeacheeah Salvatto in her case against the City of
Vallejo and the Vallejo Police Department. She informed me that she came to your office
yesterday to confirm the termination and to pick up her file. She informed me that you
refused to give her the file and refused to substitute out of the case.

As you know, discovery closed, including the taking of depositions, on August 8,
2005, Mrs. Salvatto represents that she paid you to take depositions after the close of
discovery. If she paid you this money, and if the depositions have not been taken, please
return the money to me on her behalf and I can put it in my trust account, Have there
been any motions filed or set for hearing?

Your contract with Mrs. Salvatto states: “Attorney will pursue a lawsuit for
Personal Injury, police brutality, violation of civil rights, and false arrest negligence other
related causes of action against the Vallejho [sic] Police Department. . . .” Did you
amend the complaint? Obviously, I need the file to determine the status of the case.
Please contact me immediately.

Sincerely,

LAW OFFICE O F JEPFREY FLET

  

ce: LaTeacheeah Salvatto

Tel: (916) 449-9937
Oe Nh Strat Fax: (916) 419-0452
880 Ninth Streeh er Email: jefffletcher@email.com
Sacramento, California 95814
Case 2:04-cv-00163-WBS-GGH Document 62 Filed 04/05/07 Page 25 of 93

From: Jeffrey Fletcher [mailto:jefffletcher@email.com]
Sent: Thursday, March 22, 2007 1:19 PM

To: Salvatto, Richard D (Rich)

Subject: RE: Status

The expert witnesses did not come up in this motion. The issue in a summary judgment
motion is whether, assuming the facts most favorable to the plaintiff, the defendant is
entitled to a judgment because the law requires that result? The issue in the motion
concerns the facts. If everything that Lateacheah says is true, is the City still entitled to a
judgment because they were allowed to do what they did?

I will talk to Lateacheah about the depositions. Generally, when I was hired to substitute
in on the case, it was about to be dismissed at a previously set motion for summary
judgment. Your attorney had not responded to the motion and the case was going to be
dismissed. Also, the complaint was defective because the attorney never filed a claim
against the City and did not properly set forth the claims that should have been set forth
in a lawsuit such as this one. Jamal should have not been included in this suit and it
wrongfully claimed that the officers broke her foot. Because of these defects, I was not
going to pay for the depositions in a case with these problems. My intent was to keep the
suit alive and obtain a recovery for you all. I kept it alive and now I am seeking the
recovery. I was real clear about me not paying for the depositions.

Jeff

----- Original Message -----

From: "Salvatto, Richard D \(Rich\)"
To: "Jeffrey Fletcher"

Subject: RE: Status

Date: Thu, 22 Mar 2007 11:21:59 -0500

Jeffery,
Did the judge read our expert's opinion? It does not sound like he did.

As far as the other costs - Lateacheeah wants to discuss this with you. She is still confused as to
who pays what in a contingency case.

Regards,

Richard
Case 2:04-cv-00163-WBS-GGH Document 62 Filed 04/05/07 Page 26 of 93

From: Jeffrey Fletcher [mailto:jeffflet-cher@email.com]
Sent: Wednesday, March 21, 2007 12:01 PM

To: Salvatto, Richard D (Rich)

Subject: Re: Status

The session went well. We are now awaiting the judge's order. At first the judge
seemed to feel that the police had no alternative except to arrest her since she would not
stop calling. What else could the police do?

Initially I argued what I thought was an important technical argument, which was that the
police could not arrest her for the offense that the arrested her for. There was no way that
she could be guilty of it and that is why the charges were later dismissed. This raised the
issue of whether the station was open or closed to the public, which was the statute that
they arrested her for. The judge felt that argument did not make too much of a difference,
since if she was obstructing, it did not matter whether the station was open or closed to
the public.

Through that argument, I learned that the judge thought that Lateacheah was arrested
inside the lobby. I then argued that it was illegal to arrest a citizen in the public place
simply because they were tired of her. 1 also explained that the reason for the number of
calls was not to interfere but to seek assistance, clarification and safety. The judge then
asked the City whether or not she was inside the lobby when she was arrested. The
attorney tried to evade the question but the judge persisted and the attorney admitted that
she was outside.

I do not know what the judge will do, but I think that we put up a good argument.

In terms of where we go from here, I need the payment on the deposition transcripts
which I addressed in my last email. I need that money immediately as the deposition
company is calling me for payment.

Sincerely,
Jeffrey Fletcher

nenen Original Message -----

From: "Salvatto, Richard D \(Rich\)"

To: "Jeffrey Fletcher"

Subject: Status

Date: Wed, 21 Mar 2007 10:24:01 -0500

Jeffrey,

What happened at the court session this week?
What are the next steps?

Regards.
Richard
Case 2:04-cv-00163-WBS-GGH Document 62 Filed 04/05/07 Page 27 of 93

From: Jeffrey Fletcher [mailto:jefffletcher@email.com]
Sent: Saturday, March 03, 2007 5:04 AM

To: Salvatto, Richard D (Rich)

Subject: RE: Fee for expert witness deposition

Mrs. Salvatto:

As to your marriage, I have only shown respect for it. What I wrote is not incorrect. I
was speaking to Mr. Salvatto and I mentioned his house. There is nothing sinister or
super analytical. It's an email. I too am married and have 6 children. We love our
marriages and we love our kids. Great. Why are we talking about this?

We are in the final throws of your case. I am very committed to the case, but now is the
time for us to be on the same page. Now is the time to be a team. I flew down to Long
Beach on February 21 to defend our expert's deposition. I was in Stockton on February
28 to take their expert's deposition. It was important that I did take his deposition. If you
do not take the expert's deposition, they will come to trial and say anything and you are
stuck because you never deposed them. I had to pay him $500 and I do need that money
back.

There are other costs, some of which have not been paid:

Depositions of Leslie Barden and Mary Ramons _— $367.80

 

 

Deposition of Corporal John Whitney 309.00
Deposition of Thomas Liddicoet & Schroeder 658,25
Deposition of Jeremy Huggs & Kevin McCarthy 835.28
Deposition of Brett Clark 584,45
Total $2,754.78

Mr. Buery has not paid the $1,400. I paid that so that we could take the depositions of
the defendants.

There is going to be a lot of movement on your case. I apologize for the poor
communication. There is a motion for summary judgment filed against your case with a
hearing date set for March 19, 2007 at 1:30 in court room 5. I am preparing for that
now. That was the same motion that was set to be heard when I was first retained.

I am committed to your case. Now is the time for us to be on the same team. When the
case goes to trial, it is critical that we be on the same team. I cannot emphasize this-
enough. We need to schedule a meeting so that you all can be briefed on where we are
and the strategy for the future. We also need to seriously evaluate your interests in
settlement and for how much. Right now, I have some open time this week and more
time next week.

With all of that said, I still need that expert's fee because I already paid it, and it was
necessary for your case.
Case 2:04-cv-00163-WBS-GGH Document 62 Filed 04/05/07 Page 28 of 93

ome Original Message -----

From: "Salvatto, Richard D \(Rich\)"

To: "Jeffrey Fletcher"

Subject: RE: Fee for expert witness deposition
Date: Sat, 3 Mar 2007 01:11:51 -0600

Mr. Fletcher

First of all | would like to clarify the last sentence of your email below (highlighted in red) Richard
and | are married and have 5 children. | came back home, not “before she had come to your
home.” My marriage means everything to me and a statement which undermines or questions the
validity of it greatly offends me. We have worked very hard throughout many years to build our
family and make our house a home.

Regarding the matter of the disposition of Jared Zwickey; | believe | should have been asked
whether or not | wanted him deposed if you expected to receive payment from us. | think his
written statement stood by it self as an example of his complete lack of expertise and | see no
reason to have wasted money on deposing him. Surely the opposition must know this as well
after they deposed our expert.in addition, when you agreed to take this case you were given
$5,000.00 and at that time | explicitly asked you the following questions:

1) Does this $5,000 cover the cost of dispositions and everything? You replied “Yes.”

2) Are you going to be able to get my $3,000 back from Donald Buery? You replied that it
should not be a problem. {n addition the court demanded that Buery return my $3,000 as
well as sanctioning a fine of $1,400 that was to be paid to the defendants by the
plaintiff. You told me that you received a check in the amount of $2,500 from Donald
Buery. You returned $1,000 to me .

3) (had asked you to keep the $1,500 to put toward an expert witness if one was needed.
You replied “OK, that’s a good idea” | then stated that the total of $6,500 should be
enough to take care of ail costs. You replied “ That should cover everything” Is this not
correct?

4) When you found an expert witness you had my husband rush $2,500 to him in order for
him to write a report in time to meet a deadline. He did so but | was very upset at the time.
Why was this necessary given the above?

Now let me state the problems | have regarding paying you for the most recent deposition. | feel
the monies | have already given you are sufficient to cover all costs. My understanding was you
had taken the case on a contingency basis and that you would receive 33% of any award when
the case is settled. Now when you take this disposition you ask for additional funds. | am puzzled
as to why you would even mention money at the junction. You deposed the police officers without
asking for any money, true?

Now you have sent 4 emails and two telephone calls within two days. | am amazed as | have not
had much luck having you contact me. | had to send you a registered letter regarding the fact
that you did not return my calls or respond to any of my quests. | still do not hear from you unless
it is an urgent call for money! You forced us to pay for our expert witness saying the other side
had an expert and if we did not get one by the deadline we would lose our case.

| raised this issue with you at that time and you told me that the $5,000 was your retainer and that
| agreed to pay costs and fees. You also said that the other $1,500 was used to pay the
defendants — | just never know what to believe. You seem to say different things at different times.

LaTeacheeah Satvatio
Case 2:04-cv-00163-WBS-GGH Document 62 Filed 04/05/07 Page 29 of 93

From: Jeffrey Fletcher [mailto:jefffletcher@email.com]
Sent: Thursday, March 01, 2007 1:36 AM
To: Salvatto, Richard D (Rich)

Subject: Re:

I completed the deposition of the expert for the City of Vallejo. The purpose of this
deposition was to find out the basis for the opinions of their expert witness. His initial
opinion is that Lateachea's arrest was valid and based upon probable cause. His opinion
is that she violated a statute that says that it is a trespass for a person to interferre with a
business open to the public. He did his best to protect the City. I got him to
acknowledge that being on the outside of the police building is not a trespass. It is a
public place. Next, we battled over the term "open to the public,” because the building
was not open to the public. The station was closed to the public which was why she had
to use the outside telephone. He tried to say that once the officers let her inside, it was
open to the public, but he was merely trying to extend his protection of the

department. My positio is that the arrest was invalid because the statute that she was
arrested under was not violated. Also, if the arrest was unlawful, the the tow of the car
was unlawful,.Finally, when the officers pushed her outside the station, this was an
unreasonable use of force. The officers could use a reasonable amount of force to
effectuate an arrest, but the pushing incident was not an arrest. The pushing incident
occured befoe she had come to your home. She later went back up to the station and was
arrested. We can talk later and I can give more detail.

The depositon lasted fore two and a half hours. I gave the expert a check for $500, as he
charges $200 per hour for his deposition testimony. I therefore need to get that check
from you. Please contact me so that we can make that arrangment. Thank you.

Sincerely,
Jeffrey Fletcher

From: Jeffrey Fletcher [mailto:jefffletcher@email.com]
Sent: Thursday, March 01, 2007 5:33 PM

To: Salvatto, Richard D (Rich)

Subject: Re: Fee for expert witness deposition

I am still waiting to hear from you regarding the expert deposition fee which I have paid.
This email and any files transmitted with it are confidential,
proprietary

and intended solely for the individual or entity to whom they are
addressed.

If you have received this email in error please delete it immediately.
Case 2:04-cv-00163-WBS-GGH Document 62 Filed 04/05/07 Page 30 of 93

From: Jeffrey Fletcher [mailto:jefffletcher@email.com]
Sent: Thursday, March 01, 2007 1:36 AM
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Sincerely,
Jeffrey Fletcher
Case 2:04-cv-00163-WBS-GGH Document 62 Filed 04/05/07 Page 31 of 93

----- Original Message-----

From: Jeffrey Fletcher <jefffletcher@email.com>
To: Salvatto, Richard D (Rich)

Sent: Wed Feb 28 10:24:19 2007

Mr. Salvatto:

Today I take the deposition of the expert witness for the City of Vallejo in Stockton at
1:00 p.m. Last week on Wednesday, February 21, the City took the deposition of our
expert, Mr. Dusenbury. He did an excellent job and was very supportive of our position.

I should have contacted you earlier, but I need to pay their expert fee to take his
deposition. As you know, he charges $200 per hour. I expect that the deposition will
take 2 hours. I therefore need $400 to pay their expert. I will contact you this evening to
make the arrangement to obtain that fee. This deposit on is very important to our case,
and I expect to do a good job today.

I will contact you later,

Sincerely,
Jeffrey Fletcher

You paid our expert a $2,500 retainer for the use of his services. When the City took Mr.
Dusenbury’s deposition last Thursday, they had to pay him out of their pocket for the
time at the deposition. Thus, Dusenbury received a fee from us and a fee from the City to
take his deposition. Now we are taking the deposition of the City's expert and we have to
pay him for his time at his deposition. Their expert is Jared L. Zwickey out of Stockton. I
am sure the City paid him a retainer for his services, but we have to pay to take his
deposition. Let me know if you have any other questions. You can also reach me on my
cell phone at (916) 519-6470 as I will be heading to Stockton soon.

Jeff Fletcher
Case 2:04-cv-00163-WBS-GGH Document 62 Filed 04/05/07 Page 32 of 93

---— Original Message -----

From: "Salvatto, Richard D \(Rich\)"
To: jefffletcher@email.com

Subject: Re:

Date: Wed, 28 Feb 2007 11:01:45 -0600

Jeffery

1 paid him 2500 and that fee was supposed to cover the report and dispositions and when
I talked to him some months ago he said there might even be some time left over for a
trial appearence

So Iam confused,

Rich

From: Jeffrey Fletcher <jefffletcher@email.com>
To: Salvatto, Richard D (Rich)
Sent: Wed Feb 28 10:24:19 2007

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and I expect to do a good job today,

I will contact you later.
Sincerely,

Jeffrey Fletcher
\
Case 2:04-cv-00163-WBS-GGH Document 62 Filed 04/05/07 Page 33 of 93

From: Jeffrey Fletcher [mailto:jefffletcher@email.com]
Sent: Tuesday, November 14, 2006 10:43 AM

To: Salvatto, Richard D (Rich)

Subject: expert witness retention

Mr. Salvatto:

Our opposition has retained an expert witness to testify that the arrest and detention of
Mrs. Salvatto was proper. We have the right to have an expert to rebut their expert
witness. I have found David A. Dusenbury, who was one of several that I have talked
to. Mr. Dusenbury's web site is dwww.dusenburypolicesecurityexperts.com. I have
already designated him as our retained expert. He must now review the depositions

and other documents in the case and write a report by November 22, 2006. His retainer
fee is $2,500, which must be paid immediately. You can refer to his web site and see his
experience, fee schedule, and CV. Once you give me the OK, I will send him the
documents that he needs to write the report. It needs to be Fedex'd today. If you agree to
use him, we can arrange for you to send him the check directly. Of course, he will not
start without the check. I look forward to hearing from you.

Jeff Fletcher
Case 2:04-cv-00163-WBS-GGH Document 62 Filed 04/05/07 Page 34 of 93

From: Salvatto, Richard D (Rich)

Sent: Tuesday, April 03, 2007 1:15 PM

To: Jeffrey Fletcher

Subject: RE: Fee for expert witness deposition

Jeffery,

We are still unhappy about paying all of these fees but since we will be leaving town soon we
wanted to know where we send this money to? Do we write a check to you or to some company?

Also how is the case going? What is next? Please let us know as soon as possible
The Salvattos

There are other costs, some of which have not been paid:
Depositions of Leslie Barden and Mary Ramons $367.80

Deposition of Corporal John Whitney 309.00
Deposition of Thomas Liddicoet & Schroeder 658.25
Deposition of Jeremy Huggs & Kevin McCarthy 835.28
Deposition of Brett Clark 584.45

 

 

Total $2,754.78
Case 2:04-cv-00163-WBS-GGH Document 62 Filed 04/05/07 Page 35 of 93

From: Salvatto, Richard D (Rich)

Sent: Saturday, March 03, 2007 9:12 AM

To: Jeffrey Fletcher

Subject: RE: Fee for expert witness deposition

Ok, still not satisfied but we will send you a check for the $500. today

From: Jeffrey Fletcher [mailto:jefffletcher@email.com]
Sent: Thursday, March 01, 2007 5:33 PM

To: Salvatto, Richard D (Rich)

Subject: Re: Fee for expert witness deposition

I am still waiting to hear from you regarding the expert deposition fee which I have paid.
oawoaw.awe AAA Vou eee eee 2d be Pk wa ae

Case 2:04-cv-00163-WBS-GGH Document 62 Filed 04/05/07 Page 36 of 93

Till Friday afternoon your time

Palace Hotel Tokyo

1-1-1 Marunouchi, Chiyoda-ku
Tokyo, 100-0005 Japan
Phone 011- 81-3-3211-5211
Room 762

From Friday Midnight till Tuesday 7PM your time

Millennium Seoul Hilton
395, 5-ga, Namdaemun-ro, Chung-gu, Seoul, South Korea
Phone 011- 82-2-3173114

From Wednesday 24", 6AM your time

Regal Airport Hotel
9 Cheong Tat Road, Hong Kong International Airport,
Chek Lap Kok, Hong Kong.

011-852 2286 8888

Date :Jan 25, 2007 From :Hong Kong, China To :San Francisco,
Singapore Airlines (SQ) Flight 2
Depart :9:55p - Hong Kong Arrive :5:55p - San Francisco

we can go to Scomas for dinner if you like

*

| looked at what Fletcher sent and | do not see any difference with the
previous one. It is 16 pages without his background information.
Case 2:04-cv-00163-WBS GGH Rocumeng Se ated 04/05/07 Page 37 of 93

1114 Vervais Avenue
Vallejo, CA 94591

October 16, 2006

Mr. Jeffery Fletcher

Attomey at Law

980 Oth St Fl 16 Re: Case Number CIV.S04-0163WBS GGH
Sacramento, CA 95814

Dear Mr. Fletcher:

The purpose of this letter is to make a formal statement about the way you have responded to the calls,
messages, and conversations | have had with you. | called you two weeks ago and left a message asking
you to retum my call. As of yet [ have not heard from you. You always fail to retum my calls or messages
whether email, telephone messages, or written.

Over two months ago | requested a copy of the depositions taken from the police officers and dispatcher
involved in my case. | am making that request once again. | repeated this request when we spoke of
Ivy's case and you gave your word to send them, but they have not arrived.

On the same call you mentioned that the part of the case that involved my husband Richard was not
strong enough or hard to prove and hinted that perhaps that part of the case should be dropped. You said
the same thing about Jamal. | am not sure what you have actually done regarding Jamal’s status as a
plaintiff in this case. | would hope that you would notify me officially of any impending changes in my case
before making any formal communications or changes with the court. Other than the notices of the
dispositions, | have not received any documentation on my case. | would appreciate copes of any
communications regarding my case.

1 have not agreed to any changes in the structure of the case or the number of plaintiffs. Under no
circumstances is my husband to be negotiated out of this case unless it is part of an amicable settlement.
| do not want you to take any action before you discuss it with me. My whole family has suffered through
this ordeal, make no mistake about that! We will not compromise our integrity to lignten anyone’s load.

| will be in Sacramento in a few weeks and would be happy to stop by your office and pick up the
dispositions along with any other documentation you have for me.

Sincerely,

Laleacheeah . Salvatte
Page 1 of 2

Case 2:04-cv-00163-WBS-GGH Document 62 Filed 04/05/07 Page 38 of 93
Salvatto, Richard D (Rich)

 

From: Jeffrey Fletcher [jefffletcher@email.com]
Sent: Wednesday, February 28, 2007 12:52 PM
To: Salvatto, Richard D (Rich)

Subject: Re:

You paid our expert a $2,500 retainer for the use of his services. When the City took Mr. Dusenbury's
deposition last Thursday, they had to pay him out of their pocket for the time at the deposition. Thus,
Dusenbury received a fee from us and a fee from the City to take his deposition. Now we are taking the
deposition of the City's expert and we have to pay him for his time at his deposition. Their expert is Jared L.
Zwickey out of Stockton. [ am sure the City paid him a retainer for his services, but we have to pay to take his
deposition. Let me know if you have any other questions. You can also reach me on my cell phone at (916)
519-6470 as I will be heading to Stockton soon.

Jeff Fletcher

----- Original Message -----

From: "Salvatto, Richard D \(Rich\)"
To: jefffletcher@email.com

Subject: Re:

Date: Wed, 28 Feb 2007 11:01:45 -0600

Jeffery

I paid him 2500 and that fee was supposed to cover the report and dispositions and when I talked to him some months ago he
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So I am confused.
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Sent: Wed Feb 28 10:24:19 2007

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our position.

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I will contact you later.

Sincerely,

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2/28/2007
Case 2:04-cv-00163-WBS-GGH Document 62 Filed 04/05/07 Page 39 of 93

Mr. Fletcher

First of all | would like to clarify the last sentence of your email below (highlighted in red) Richard
and | are married and have 5 children. | came back home, not “before she had come to your
home.” My marriage means everything to me and a statement which undermines or questions the
validity of it greatly offends me. We have worked very hard throughout many years to build our
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whether or not | wanted him deposed if you expected to receive payment from us. | think his
written statement stood by it self as an example of his complete lack of expertise and | see no
reason to have wasted money on deposing him. Surly the opposition must know this as well after
they deposed our expert.

In addition, when you agreed to take this case you were given $5,000.00 and at that time |
explicitly asked you the following questions:

1} Does this $5,000 cover the cost of dispositions and everything? You replied “Yes.”

2) Are you going to be able to get my $3,000 back from Donald Buery? You replied that it
should not be a problem. In addition the court demanded that Buery return my $3,000 as
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You replied “OK, that’s a good idea” | then stated that the total of $6,500 should be
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it is an urgent call for money! You forced us to pay for our expert witness saying the other side
had an expert and if we did not get one by the deadline we would lose our case.

| raised this issue with you at that time and you told me that the $5,000 was your retainer and that

| agreed to pay costs and fees. You also said that the other $1,500 was used to pay the
defendants - | just never know what to believe. You seem to say different things at different times.

LaTeacheeah Salvatto

 

From: Jeffrey Fletcher [mailto:jefffletcher@email.com]
Sent: Thursday, March 01, 2007 1:36 AM
Case 2:04-cv-00163-WBS-GGH Document 62 Filed 04/05/07 Page 40 of 93
Salvatto, Richard D (Rich)

 

From: Jeffrey Fletcher [jefffletcher@email.com]
Sent: Thursday, March 01, 2007 1:36 AM

To: Salvatto, Richard D (Rich)

Subject: Re:

I completed the deposition of the expert for the City of Vallejo. The purpose of this deposition was to find out
the basis for the opinions of their expert witness. His initial opinion is that Lateachea's arrest was valid and
based upon probable cause. His opinion is that she violated a statute that says that it is a trespass for a person
to interferre with a business open to the public. He did his best to protect the City. I got him to acknowledge
that being on the outside of the police building is not a trespass. It is a public place. Next, we battled over the
term "open to the public,” because the building was not open to the public. The station was closed to the public
which was why she had to use the outside telephone. He tried to say that once the officers let her inside, it was
open to the public, but he was merely trying to extend his protection of the department. My positio is that the
arrest was invalid because the statute that she was arrested under was not violated. Also, if the arrest was
unlawful, the the tow of the car was unlawful..Finally, when the officers pushed her outside the station, this was
an unreasonable use of force. The officers could use a reasonable amount of force to effectuate an arrest, but
the pushing incident was not an arrest. The pushing incident occured befoe she had come to your home. She
later went back up to the station and was arrested. We can talk later and I can give more detail.

The depositon lasted fore two and a half hours. I gave the expert a check for $500, as he charges $200 per hour
for his deposition testimony. I therefore need to get that check from you. Please contact me so that we can
make that arrangment. Thank you.

Sincerely,

Jeffrey Fletcher

weeee Original Message -----

From: "Salvatto, Richard D \(Rich\)"
To: jefffletcher@email.com

Subject: Re:

Date: Wed, 28 Feb 2007 11:01:45 -0600

Jeffery

T paid him 2500 and that fee was supposed to cover the report and dispositions and when I talked to him some months ago he
said there might even be some time left over for a trial appearence .

So I am confused.

Rich

-----Original Message-----

From: Jeffrey Fletcher <jefffletcher@email.com>

To: Salvatto, Richard D (Rich)
Sent: Wed Feb 28 10:24:19 2007

Mr. Salvatto:

 

Today I take the deposition of the expert witness for the City of Vallejo in Stockton at 1:00 p.m. Last week on Wednesday,
3/1/2007
 

February 21, He CE Bak hE Yepositon 0 LO seh ie Raia Fal ed! BAP and Fa Gey Poet of
our position.

I should have contacted you earlier, but I need to pay their expert fee to take his deposition. As you know, he charges $200
per hour, I expect that the deposition will take 2 hours. I therefore need $400 to pay their expert. I will contact you this
evening to make the arrangement to obtain that fee. This deposit on is very important to our case, and I expect to do a good
job today.

I will contact you later.

Sincerely,

Jeffrey Fletcher

<http;//a8-asy.a8ww.net/a8-ads/adfirclick?redirectid=en-mail_a_01>

 

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3/1/2007
Case 2:04-cv-00163-WBS-GGH Document 62 Filed 04/05/07 Page 42 of 93

To: Salvatto, Richard D (Rich)
Subject: Re:

I completed the deposition of the expert for the City of Vallejo. The purpose of this
deposition was to find out the basis for the opinions of their expert witness. His initial
opinion is that Lateachea's arrest was valid and based upon probable cause. His opinion
is that she violated a statute that says that it is a trespass for a person to interferre with a
business open to the public. He did his best to protect the City. I got him to
acknowledge that being on the outside of the police building is not a trespass. It is a
public place. Next, we battled over the term "open to the public,” because the building
was not open to the public. The station was closed to the public which was why she had
to use the outside telephone. He tried to say that once the officers let her inside, it was
open to the public, but he was merely trying to extend his protection of the

department. My positio is that the arrest was invalid because the statute that she was
arrested under was not violated. Also, if the arrest was unlawful, the the tow of the car
was unlawful..Finally, when the officers pushed her outside the station, this was an
unreasonable use of force. The officers could use a reasonable amount of force to
effectuate an arrest, but the pushing incident was not an arrest. The pushing incident
occured befoe she had come to your home. She later went back up to the station and was
arrested. We can talk later and I can give more detail.

The depositon lasted fore two and a half hours. I gave the expert a check for $500, as he
charges $200 per hour for his deposition testimony. I therefore need to get that check
from you. Please contact me so that we can make that arrangment. Thank you.

Sincerely,

Jeffrey Fletcher

 

From: Jeffrey Fletcher [mailto:jefffletcher@email.com]
Sent: Thursday, March 01, 2007 5:33 PM

To: Salvatto, Richard D (Rich)

Subject: Re: Fee for expert witness deposition

I am still waiting to hear from you regarding the expert deposition fee which I have paid.
Case 2:04-cv-00163-WBS-GGH Document 62 Filed 04/05/07 Page 43 of 93
Salvatto, Richard D (Rich)

 

From: Jeffrey Fletcher [jefffletcher@email.com]
Sent: Saturday, March 03, 2007 5:04 AM

To: Salvatto, Richard D (Rich)

Subject: RE: Fee for expert witness deposition

Mrs. Salvatto:

As to your marriage, I have only shown respect for it. What I wrote is not incorrect. I was speaking to Mr.
Salvatto and I mentioned his house. There is nothing sinister or super analytical. It's an email. I too am
married and have 6 children. We love our marriages and we love our kids. Great. Why are we talking about
this?

We are in the final throws of your case. I am very committed to the case, but now is the time for us to be on the
same page. Now is the time to be a team. I flew down to Long Beach on February 21 to defend our expert's
deposition. I was in Stockton on February 28 to take their expert's deposition. It was important that I did take
his deposition. If you do not take the expert's deposition, they will come to trial and say anything and you are
stuck because you never deposed them. I had to pay him $500 and I do need that money back.

There are other costs, some of which have not been paid:

Depositions of Leslie Barden and Mary Ramons $367.80

 

Deposition of Corporal John Whitney 309.00
Deposition of Thomas Liddicoet & Schroeder 658.25
Deposition of Jeremy Huggs & Kevin McCarthy 835.28
Deposition of Brett Clark 584.45
Total $2,754.78

Mr. Buery has not paid the $1,400. I paid that so that we could take the depositions of the defendants.

There is going to be a lot of movement on your case. I apologize for the poor communication. There is a
motion for summary judgment filed against your case with a hearing date set for March 19, 2007 at 1:30 in
court room 5. I am preparing for that now. That was the same motion that was set to be heard when I was first
retained.

I am committed to your case. Now is the time for us to be on the same team, When the case goes to trial, it is
critical that we be on the same team. I cannot emphasize this enough. We need to schedule a meeting so that
you all can be briefed on where we are and the strategy for the future. We also need to seriously evaluate your
interests in settlement and for how much. Right now, I have some open time this week and more time next
week.

With all of that said, I still need that expert's fee because I already paid it, and it was necessary for your
case.

3/3/2007
Case 2:04-cv-00163-WBS-GG Filed 04/05/07 Page 44 of 93

  

Jeffrey Fletcher

Attorney At Law
October 31, 2005

Richard Salvatto
LaTeacheeah Salvatto

1114 Vervais Avenue
Vallejo, CA 94591

Dear Richard and LaTeacheeah:

I hope that you are doing well. Enclosed with this letter, please find a Substitution
of Attorney and an Authorization for Release of Legal Documents for you all to sign.
Initially, I wanted you to sign the substitution in pro per and then file a motion to be
heard in court, but the federal courts usually require permission before a person can
represent themselves. I want us to get into court as soon as possible to request the court
to allow us to reopen discovery. Also, the complaint is defective on its face and if in fact
no depositions have been taken, I believe that the court will grant you relief.
Additionally, since the complaint is defective, it needs to be amended. The current
complaint has not alleged a constitutional violation and that the police acted under color
of law. These allegations are expected in a case like this and it makes this case more
substantial.

[have read LaTeacheeah’s report of the incident, the police report, and other
documents in the case. I can see clearly what happened in that they simply did not want
to give you any respect. The officers became irritated when you insisted on being treated
like any other citizen. Your arrest was the consequence.

Ironically, you were arrested for violating Penal Code section 602.1(a), but that
section requires the establishment to be “open to the public.” It was never established
that the Police station at that time was “open to the public.

It is critical that we persuade the judge to reopen discovery and to allow the filing
of an amended complaint. There are a lot of issues in this case that need to be developed.
For example, the officers never really talked to you about the purpose for which you
went to the station. If they had let Officer Whitney speak to you, perhaps none of this
would have happened. Some questions that need to be discovered include the front door
protocol; why did they have you wait for so long — what were they doing? Why was
Jamal arrested? What is the department’s procedure for contacting parents of juveniles
who are arrested? Why was your car towed?

U.S. Bank Plaza Tel: (916) 449-9937
980 Ninth Street, 16 FI. Fax: (916) 419-0452
Sacramento, California 95814 Email: jefffletcher@email.com

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Case 2:04-cv-00163-WBS-GGH Document 62 Filed 04/05/07 Page 45 of 93

Page Two
October 31, 2005

You have a great case as long as the court allows us to obtain discovery and
amend the complaint. I want to approach the court directly because you injury and the
nature of the case is evident. The judge knows what type of case this is and that the
complaint in its present form does not reflect it.

Please sign the forms and send the signed Substitution of Attorney form and the
Release to Mr. Beury in the envelope provided immediately.

Sincerely,

 
 

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Case 2:04-cv-00163-WBS-GGH Document 62 Fileg(05/07 Page 46 of 93

FAX TRANSMISSION ~ Fairlsaac.

Date: October 18, 2005 Number of pages Including cover sheet: 3

FAX TO FAX FROM

Jeffrey Fletcher Richard D. Salvatto
Name: Name:

Attomey at Law Director EDM Analytics
Company: Department:

Sacramento San Rafael, California
Location: Location:

916-419-0452 415-446-6193
FAX #: FAX #:

 

 

 

 

415-359-3498
Cell #:

916-449-9937 415-491-5187
Phone #: Phone #:

LaTeachesah Anderson Salvatto richsalvatto@fairisaac.com
Copy To: Email:

Attorney Client Agreement

 

 

 

Subject:

 

Mr. Fletcher,
| have attached a copy of the signed attorney client agreement, | will send the original buy post today.

1 am glad to see you taking on this case. | believe that the former attorney has not done a good job
starting with his missing the deadline to file in State court. Since then he has not shown any initiative
and has only responded to our repeated calls for action slowly at best.

Once he personally believed that the potential award was less than he had expected (he pined all of his
hopes on the personal Injury side of the case) ha stopped working the case entirely. | believe that it
was due to his negligence that the final dates for discovery were missed.

He claims to have filed to move the date for trial but has repeatedly failed to show us any proof of that
or give us the new date he said was in April some time. The original date for trial was in January. He
promised to file for an extension for discovery but when pressed on the Issue he said he still needed to
get around to that.

| was appalled at the way my wife was treated by the Vallejo police and could not believe it when |
recelved the call from her that she had been arrested. Arrested for trying to obtain what was only her
basic right, to first get the details on the arrest and detention of a juvenile without parental notification,
and then to attempt to file charges against a police officar who assaulted her when she demanded her
rights.

For someone who had experience in law enforcement, a business woman who had employed dozens
of people and who ran for Mayor for ihe City of Vallejo ~ to be treated so shamefully can only be
evidence of a level of racism | can not understand.

1 look forward to meeting you and thank you again for taking on this case.

 

Corporate Headquarters: 200 SMITH RANCH ROAD, SAN RAFAEL, CA 94903-1996 USA

10/18/2005 TUE 08:54 FAX 415 446 6193 FAIR ISAAC CORPORATION Moo.

 

 

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1 Case 2:04-cv-00163-WBS-GG

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Filed 04/05/07 Page 47 of 93

  

Jeffrey Fletcher

Attorney At Law

ATTORNEY CLIENT AGRREMENT

JEFFREY FLETHCER, ATTORNEY AT LAW (“Attorney”) and RICHARD
SALVATTO, LA TEACHEEAH SALVATTO, and JAMAL THROWER, a minor
(“Client”) hereby agree that Attorney will provide legal services as set forth below.

1.

U.S. Bank Plaza
980 Ninth Street, 16 FI.

CONDITIONS. This agreement will not take effect and attorney will have no
obligation until this agreement is signed and the retainer is paid to Attorney.

SCOPE OF SERVICES: Attorney is retained to provide representation in the
matter relating to an already filed lawsuit against the City of Vallejo and
others relating to a claim of violation of Civil Rights. Attorney will represent
client through trial and through any settlement negotiations whether they be
by mediation, arbitration or other settlement procedure.

RESPONSIBILITY OF PARTIES: Attorney will provide legal services
reasonably related to protecting Clients’ interests and will respond to Clients’
inquiries and will advise Clients of the development of the case. Client agrees
to be truthful with Attorney and to provide information to Attorney and to pay
any invoices that are required of Clients, and to keep Attorney advised if there
is any change of address or telephone number.

LEGAL FEES: Client agrees to pay Attorney an initial retainer fee in the
amount of $5,000.00 (Five Thousand Dollars). Attorney will also be entitled
to be compensated for a percentage of 33.3% of a net recovery. A net
recovery is the total of all amount recovered by way of settlement, judgment,
arbitration or other disposition, including an award of attorney’s fees, minus
all costs and disbursements.

NEGOTIABILITY OF FEES The fees discussed are not set by law but are
negotiated between Attorney and Client.

COSTS: Client agrees to pay for the costs of the depositions in this case.
Attorney will not bill separately for those expenses from Client except as an
attorney fee if there is a settlement or other form of judgment.

Tel: (916) 449-9937
Fax: (916) 449-0452
Email: jefffletcher@email.com

Sacramento, California 95814
a

Date:

Date:

Date:

Date:

. Case 2:04-cv-00163-WBS-GGH Document 62 Filed 04/05/07 Page 48 of 93

SETTLEMENT: Attorney will not make any settlement without Client
authorization. Clients retain the absolute right to authorize any settlement.

WITHDRAWAL OR DISCHARGE: Client may terminate Attorney’s
services at any time with written notice. Attorney may withdraw from the
case with (a) client consent, or (b) court approval.

EFFECTIVE DATE: The date that this contract becomes effective is the date
that attorney begins to work on the case on behalf of Client. The date signed
on the contract is for reference only.

10-14% OF Cer bSate

Richard Salavatto

nD

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13/2 0¢5 Al Agim

Jamal Thrower

 
Case 2:04-cv-00163-WBS-GGH Document 62 Filed 04/05/07 Page 49 of 93

DAVID A. DUSENBURY & ASSOCIATES
POLICE PRACTICES/SECURITY CONSULTANTS/EXPERTS

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(562) 192-9554 (562) 989-1757 (F) (503) 642-9554

(310) 503-2114 (Cellular) E-mail: dadusen@aol.com

December 19, 2006

DRAFT

Salvatto v. City of Vallejo, et al

Charles Jeffrey Fletcher, Esq.

Law Offices of Charles Jeffrey Fletcher
980 Ninth Street, 16" Floor
Sacramento, CA 95814

Dear Mr. Fletcher,

Pursuant to our agreement, I have reviewed the following documents concerning the Salvatto v. City
of Vallejo, et al case:

1.
2.

Deposition of Kelly Schroeder.

Deposition of Corporal John Whitney.

Deposition of Thomas Liddicoet.

Deposition of William Brett Clark.

Defendants’ Disclosure of Experts.

Expert Opinion Report, Jared I. Zwickey (12 pages).

Complaint (12 pages) for Violation of Civil Rights; False Arrest; Assault and Battery;
Abuse of Process, Negligence: Loss of - - - - .

Vallejo Police Department Crime Report # 03-303 (7 pages including Attachments),
charging 602.1 (b), dated 01/05/03, filed by B. Clark #436.

Incident at Vallejo Police Headquarters, Sunday January 5, 2000, Affirmed Statement of
LaTeacheeah G. Anderson Salvatto (14 pages).

10. Declaration of Aimee Knight (2 pages).
 

iy GF PSRMOH/GT Page 50 of 93

11. Exhibit “A”, Vallejo Police Department Transcript Excerpt (7 pages) from Digital

Recording System, telephone call from of LaTeacheeah Salvatto.

Please provide the following:

—

4.
3.

. Sergeant Schroeder’s Supplemental Report.

Sergeant Schroeder’s Declaration.

. Vallejo Police Department Personnel Complaint Policy and Procedures.

Communications “Call History” (CAD) and audio recording of this event.

Vallejo Police Department Citizen’s Complaint Policy and Procedures.

Based upon review of the above documents, I have made the following preliminary notes and
formed the following preliminary opinions:

1,

Deposition of Kelly Schroeder.
(a) Page 6, he is a sergeant with the Vallejo Police Department. He was hired in 1986.

(b) Page 11, Mrs. Salvatto came to the police department (after hours, the lobby was
closed) to pick up her son who had been arrested and cited out. That is inconsistent
with the deposition of Corporal John Whitney, Page 20, “Jamal Thrower left,
walking his motorized scooter.” (Opinion)

(c) Page 12, Mrs. Salvatto refused to fill out a complaint form and was asked to leave the
lobby.

(d) Page 12, Lieutenant Liddicoet did not record the complaint.

(e) Page 14, Mrs. Salvatto returned to file a complaint. Mrs. Salvatto wanted to file a
criminal complaint against an involved officer. Lieutenant Liddicoet told him
(Schroeder) that Mrs. Salvatto wanted to file a criminal complaint.

(f) Page 15, Officers Whitney and McCarthy were the involved officers. The complaint
involved battery.

(g) Page 17, incident occurred in the police department lobby?

(h) Page 18, “Well, generally she said she was unhappy with the service that she had
received; that she felt that she was battered by Officer McCarthy while talking to him
and Lieutenant Liddicoet. She wanted to file a complaint. Let me back up. She
wanted a report taken because of that.”

(i) Page 18, he asked her to leave the department. She remained for another 5 minutes or
sO.
eport Charles Fepirey Fre ker, Gy. Saale. Gh off Vedio a?» Page 51 of 93

(j) Page 19, “Well, at that point our discussion generally became — I call it non-
communicative. I told her that I’d be more than happy to give her or assist her in
filling out the complaint form. She refused. Didn’t want to do it. But yet she wanted
a criminal report. Said I wouldn’t do that. And that became the discussion for, you
know, five, 10 minutes.

At that point, I made it clear that we couldn’t talk anymore, that we weren’t
communicating, that she was here taking up my obligated time as well as her own to
continue with this, and I asked her to leave.”

(k) Page 19, within a 2-5 minute span she was ordered to leave.
(1) Page 20, “She ended up leaving out the glass doors.”

(m)Page 20, “I believe she left under her own power.” She complied with his request to
leave.

(n) Page 21, within 2-3 minutes, Dispatch called him and advised that Mrs. Salvatto was
again requesting a criminal complaint be taken.

(0) Pages 23-24, “After that I notified Corporal — I think it was Corporal at the time,
Sergeant Clark about the interaction I had with Mrs. Salvatto. I believe I told him that
I had talked to her, Lieutenant had to talked to her as well, that there was no merit to
her complaint. There was no merit at least to her wanting a criminal report. She
refused to accept the complaint form. And that I wanted him to go out there, and ask
her to leave. And if not, at that point, she was obstructing, interfering with our
business.”

(p) Page 25, he states that he did not ask any officer to arrest her.

(q) Page 26, “I hear them talking near the gray phone, and then I saw them standing near
her van, I believe she was driving at the time, or a larger car, out in front of the PD.”

(r) Page 32, the next thing he observed, “Sergeant Clark came in and said she’d been
arrested.”

(s) Page 33, the reason she was arrested, “She refused to leave, interfering.”
(t) Page 33, “I believe it was for the refusal to obey, interfering, not wanting to leave.”

(u) Page 33, with regard to his observing the arrest, “I don’t believe so.” Why doesn’t he
know?

(v) Page 34, he did direct Sergeant Clark to arrest Mrs. Salvatto, if she refused to leave.

(w) Page 35, “That officers had battered her, and she wouldn’t leave until that was
solved with a criminal report.”
Repott S€ hables Yefrey Fincher Hey —'SahaMPv! ity df Pare OA GZ Page 52 of 93

(x) Page 36, attributes “Code of Silence” to everybody but law enforcement? It is a
term that is used almost exclusively in regard to law enforcement.

(y) Page 38, approximately 45 minutes elapsed between the first time he talked to Mrs.
Salvatto and her arrest.

(z) Page 41, Mrs. Salvatto was hostile.

(aa) Pages 42-44, he detected that Mrs. Salvatto had a tape recorder and he wanted to
see and hear the tape. He reason was, “It’s illegal to record a conversation
without some else knowing.” Schroeder is incorrect; it is not illegal to record a
conversation under that circumstance. (Opinion)

(bb) Page 43, he said he looked at it and there was no tape inside. Did he take the
recorder from Mrs. Salvatto?

2. Deposition of Corporal John Whitney.

Page 6, with regard to the arrest (sic) of Jamal Thrower, “He was riding his motorized
scooter on a sidewalk and riding without a helmet. I only issued him a citation,
though, for the riding on the sidewalk.”

(a) Page 10, with regard to his detention of and other name of Jamal Thrower, “When I
got to the police station with him.”

(b) Page 11, Thrower did not have any identification with him.
(c) Page 19, Jamal Thrower was in the Vallejo Police Department database.

(d) Page 19, Jamal Thrower, after being identified, was given a citation and released. He
declined a ride home. Because Thrower was taken into custody, and transported to
the Vallejo Police Department, Thrower’s parent, guardian or responsible relative
Should have been notified pursuant to 627 W.LC. (Opinion)

(e) Page 20, Jamal Thrower left, walking his motorized scooter.

(f) Page 21, “A lady came to the Vallejo Police Department and was inquiring as to
why he was detained and brought to the station.”

(g) Page 22, “I went out and talked to somebody who was later identified as I believe it’s
Lateacheeah Salvatto and tried to talk to her about stopping Mr. Thrower.”

(h) Page 25, “She was unhappy with police services, wanted our names. I didn’t have a
business card. Lieutenant Liddicoet wrote my name on his business card. It was also
on the citation that I had given Mr. Thrower.”

(i) Page 26, he recorded the conversation with Mrs. Salvatto. He did not tell Mrs.
Salvatto he was recording the conversation.
Repolt Charles Heep Fielener, E.' BAGO Gy of Vaio Gor Page 53 of 98

3. Deposition of Thomas Liddicoet.

(a) Pages 7-8, “The first I think I remember was dispatch giving me a call at the watch
commander’s office saying there was a lady at the phone out front of the station
causing a problem, refusing not to use the phone, basically making a disturbance.”
Why would dispatch tell her not to use the phone? Why wouldn’t dispatch refer the
call to the watch commander?

(b) Page 8, “She was inquiring about a juvenile that had been arrested (sic) by Officer
Whitney earlier that day.”

(c) Page 12, “Well, I know that I went out there and talked to her.”

(d) Page 13, “The conversation resulted in her refusing to make a complaint, refusing to
take the form, and having to be removed from the station.”

(e) Page 13, “And myself and at least one other officer had to remove her from the
station.”

(f) Page 15, Officer Kevin McCarthy assisted him in removing Mrs. Salvatto.

(g) Page 16, “Well, eventually, as I stated, she was in the threshold, and Officer
McCarthy grabbed her on the shoulder or, I don’t remember, of her body
somewhere, and pushed her out of the building.”

(h) Page 18, “She insisted that she wanted to make a complaint again. I tried to explain
the process to her. And I offered to send her a form in the mail that she could fill out.
And she insisted that she wanted to come down and talk again about the arrest (sic) of
her son. That was the last contact I remember having with her.” Why didn’t he
(Liddicoet) just file the complaint?

(i) Page 19, “I since learned that it’s not her son.”

(j) Page 21, “Detention you have reasonable cause to detain, and arrest you have
probable cause to arrest.” Liddicoet does not, apparently, know that “reasonable
cause” and “probable cause” are exactly the same. He should know that, and he
should know that all that is necessary to detain is “reasonable suspicion”.
(Opinion)

(k) Page 23, he is not sure there is a written policy with regard to the use of the outside
telephone. There should be such a policy, in writing. (Opinion)

(I) Page 30, “Well, she was refusing to follow my orders to leave the lobby. She was
increasingly yelling and screaming. She wouldn’t listen to anything I was saying,
including my orders to leave the lobby.”

(m)Page 33, he was going off duty and Sergeant Schroeder was coming on duty, so he
briefed Schroeder because he thought Mrs. Salvatto may return.”

5
 

OHO Page 54 of 93

(n) Page 36, he had told her she was in violation of Penal Code Section 148.

(0) Page 41, “Because she would not leave it was a lawful use of force.” That is not a
reasonable of force. (Opinion)

. Deposition of William Brett Clark.

(a) Page 7, “I was contacted by the acting Watch Commander at that time who was
Sergeant Kelly Schroeder, and he informed me that Mrs. Salvatto was outside the
police building repeatedly calling down to Dispatch Center. And she had already been
assisted by two Watch Commanders, and it was time for her to leave and she was
refusing to leave.”

(b) Page 11, “Yes, she was arrested for 602.1 (b) of the Penal Code.”

(c) Page 16, “The public has access to the Police Department 24 hours a day, 7 days a
week. The only part of the police station that’s closed is the lobby. And the reason
it’s closed is because we have no personnel to man it. So they have to conduct their
business through contacting Communications Center or the Watch Commander or
patrol supervisor.”

(d) Page 17, “It was my understanding that she had been at the Police Department for
four hours. She had been asked to leave and she had been escorted out of the building
and that she had called the Communications Center approximately 25 times within
an hour.”

(e) Page 18, “Probably around 1930 hours that date, as soon as we broke roll call, the
Watch Commander asked me to speak with her and see if I could encourage her to
leave.”

(f) Page 18, “I assumed that she had been at the station for four hours based on what I
was told by the Watch Commander.”

(g) Pages 18-19, “She was the only person standing on the front steps of the police
station. She was standing next to the public access phone for the in-house contacts
and Communications Center.”

(h) Page 19, “I informed her that J was very aware of what occurred and she needed to
leave the building, she had been here a long time.” He thought she had been there for
four (4) hours? “She needed to leave the building”, she was outside?

(i) Page 21, “A fella by the name of Jamal Thrower had received a ticket, and he is no
relation to Ms. Salvatto.”

(j) Page 21, “I learned that probably six months after the case, maybe.” When did Mrs.
Salvatto become Jamal Throwers legal guardian? Foster child?
 

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(k) Page 25, “If you were a business owner and some was panhandling in front of your
business, I would ask you if you wanted to place them under citizen’s arrest for
interfering with your business.”

(1) Page 27, “The Watch Commander said that they had to escort her outside the building
because she was refusing to leave. And the she was on the telephone to the
Communications Center making repeated phone calls to the Communications Center.
They asked me to go make contact with her and encourage her to leave.”

(m)Page 28, “I made the determination that Ms. Salvatto committed a crime and I
made the decision to arrest her.”

(n) Pages 32-33, with regard to what Dispatch Center employee Mary Ramos told him,
“She explained to me that she had received approximately 16 phone calls from Ms.
Salvatto within the last hour, and all of the phone calls were coming from the
courtesy phone in the front of the police station. She was claiming that she wanted
to make a complaint against an officer. The dispatcher informed her that she needed to
do that through the Watch Commander, she demanded to talk with another officer, and
that wasn’t going to happen.”

(0) Page 35, “A report number is generated when there is a crime report authored or there
is an informational report authored or there is an arrest report authored. A CAD
number is generated anytime somebody calls the police department and reports
something.”

(p) Page 36, “She said approximately 16 within an hour’s period of time. That’s extremely
excessive. And that’s borderline nuisance phone calls. If somebody called your house
16 times in an hour you would be calling the police wanting that person arrested.”

(q) Page 37, Dispatcher Barden said she had received 5-6 phone calls from Ms. Salvatto.
{r) Page 42, the population of Vallejo is 120,000.

(s) Page 42, “----, she was standing out front, she was standing next to the courtesy
phone, which is to the left of the door as you go outside. I asked how I could help her.

She explained to me that she wanted ta file a complaint with the Police Department
regarding her son being arrested.” If that is what Ms. Salvatto wanted, there was
no basis for a crime report. She could file a Citizen’s Complaint, although such a
complaint would be without merit, unless Jamal Thrower had made some other
allegation with regard to his being taken into custody. (Opinion)

(t) Page 50, with regard to what Clark told Ms. Salvatto, “If you don’t leave, you will be
arrested. You are interfering with our ability to conduct our investigations and do
our work,”
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(u) Page 51, “I counted down, I got to the ending number. She said, “You might as well
just arrest me.””

(v) Page 52, “Then she began to resist by stiffening up her arms and moving her
shoulders away from us.”

(w) Page 52, “Her arms were stiff and she was moving her shoulders about to free her
arms.”

(x) Page 54, she was outside on the steps when she was arrested and handcuffed.

(y) Page 77, there is a video camera focusing on the courtesy phone, but it dos not record.

”

(z) Page 84, “When I restrained Ms. Salvatto she was on the landing proper, - - -- .

(aa) Page 91, there is a difference between filing a criminal complaint against an officer
and filing a “Citizen’s Complaint”. The difference is the type of report filed. Clark
states there is no difference; that is incorrect. (Opinion)

(bb) Page 94, Clark states that it is not his job to document a complaint by Ms.
Salvatto; that is, technically, incorrect. (Opinion)

5. Expert Opinion Report, Jared I. Zwickey (12 pages).

(a) Page 1, Paragraph D, “The City of Lodi employs me as a Level I peace officer. My
duties include, but are not limited to patrol duties in the City of Lodi.” That statement
would indicate that Mr. Zwickey is a Reserve Police Officer with the City of Lodi.
That is not a full time, fully compensated sworn officer position. Although, Mr.
Zwickey’s statement is true, it is, potentially, misleading. There is no such thing as
a “Level I”, full time, fully compensated peace officer. He should have included
that he is a Reserve Officer. See Penal Code Section 832.6:

PC§ 832.6. Reserve Officer Levels

(a) Every person deputized or appointed, as described in subdivision (a) of Section
830.6, shall have the powers.of a peace officer only when the person is any of the
following:

(1) A level I reserve officer deputized or appointed pursuant to paragraph (1) or (2)
of subdivision (a) or subdivision (b) of Section 830.6 and assigned to the
prevention and detection of crime and the general enforcement of the laws of this
state, whether or not working alone, and the person has completed the basic
training course for deputy sheriffs and police officers prescribed by the
Commission on Peace Officer Standards and Training. For level I reserve officers
appointed prior to January 1, 1997, the basic training requirement shall be the
course that was prescribed at the time of their appointment. Reserve officers
appointed pursuant to this paragraph shall satisfy the continuing professional
training requirement prescribed by the commission.

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(3)

(4)

(5)

A level II reserve officer assigned to the prevention and detection of crime and
the general enforcement of the laws of this state while under the immediate
supervision of a peace officer who has completed the basic training course for
deputy sheriffs and police officers prescribed by the Commission on Peace
Officer Standards and Training, and the level II reserve officer has completed the
course required by Section 832 and any other training prescribed by the
commission.

Level II reserve officers appointed pursuant to this paragraph may be assigned,
without immediate supervision, to those limited duties that are authorized for
level III reserve officers pursuant to paragraph (3). Reserve officers appointed
pursuant to this paragraph shall satisfy the continuing professional training
requirement prescribed by the commission.

Level III reserve officers may be deployed and are authorized only to carry out
limited support duties not requiring general law enforcement powers in their
routine performance. Those limited duties shall include traffic control, security at
parades and sporting events, report taking, evidence transportation, parking
enforcement, and other duties that are not likely to result in physical arrests.
Level III reserve officers while assigned these duties shall be supervised in the
accessible vicinity by a level I reserve officer or a full-time, regular peace officer
employed by a law enforcement agency authorized to have reserve officers. Level
ITI reserve officers may transport prisoners without immediate supervision, Those
persons shall have completed the training required under Section 832 and any
other training prescribed by the commission for those persons.

A person assigned to the prevention and detection of a particular crime or crimes
or to the detection or apprehension of a particular individual or individuals while
working under the supervision of a California peace officer in a county adjacent
to the state border who possesses a basic certificate issued by the Commission on
Peace Officer Standards and Training, and the person is a law enforcement
officer who is regularly employed by a local or state law enforcement agency in
an adjoining state and has completed the basic training required for peace officers
in his or her state.

For purposes of this section, a reserve officer who has previously satisfied the
training requirements pursuant to this section, and has served as a level J or II
reserve officer within the three-year period prior to the date of a new
appointment shall be deemed to remain qualified as to the Commission on Peace
Officer Standards and Training requirements if that reserve officer accepts a new
appointment at the same or lower level with another law enforcement agency. If
the reserve officer has more than a three-year break in service, he or she shall
satisfy current training requirements.

This training shall fully satisfy any other training requirements required by law,
including those specified in Section 832.
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In no case shall a peace officer of an adjoining state provide services within a
California jurisdiction during any period in which the regular law enforcement
agency of the jurisdiction is involved in a labor dispute.

Notwithstanding subdivision (a), a person who is issued a level I reserve officer
certificate before January 1, 1981, shall have the full powers and duties of a
peace officer as provided by Section 830.1 if so designated by local ordinance or,
if the local agency is not authorized to act by ordinance, by resolution, either
individually or by class, if the appointing authority determines the person is
qualified to perform general law enforcement duties by reason of the person's
training and experience. Persons who were qualified to be issued the level I
reserve officer certificate before January 1, 1981, and who state in writing under
penalty of perjury that they applied for but were not issued the certificate before
January 1, 1981, may be issued the certificate before July 1, 1984. For purposes
of this section, certificates so issued shall be deemed to have the full force and
effect of any level I reserve officer certificate issued prior to January 1, 1981,

In carrying out this section, the commission:
May use proficiency testing to satisfy reserve training standards.
Shall provide for convenient training to remote areas in the state.

Shall establish a professional certificate for reserve officers as defined in
paragraph (1) of subdivision (a) and may establish a professional certificate for
reserve officers as defined in paragraphs (2) and (3) of subdivision (a).

Shall facilitate the voluntary transition of reserve officers to regular officers with
no unnecessary redundancy between the training required for level I and level II
reserve officers.

In carrying out paragraphs (1) and (3) of subdivision (c), the commission may
establish and levy appropriate fees, provided the fees do not exceed the cost for
administering the respective services. These fees shall be deposited in the Peace
Officers’ Training Fund established by Section 13520.

The commission shall include an amount in its annual budget request to carry out
this section.

(Amended by Stats. 2001, Ch. 473, Sec. 6. Effective January 1, 2002.)
(Amended by Stats. 2000, Ch. 287, Sec. 11. Effective January 1, 2001.)
(Amended by Stats. 1999, Ch. 111, Sec. 1. Effective July 13, 1999.)
(Amended by Stats. 1998, Ch. 190, Sec. 3. Effective January 1, 1999.)

(b) Page 4, Paragraph M, “A reasonably well trained peace officer would have believed
that there was probable cause to arrest the plaintiff for willfully resisting peace officers
in the discharge of their duties, for interfering with the lawful business of the police
department, and for the unlawful use of a telephone or electronic communications

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device.” “And for the unlawful use of a telephone or electronic communications
device” is incorrect. There was no such violation. (Opinion)

(c) Page 5, Paragraph 8, “After a very lengthy discussion and with the assistance of
Officer McCarthy, Lieutenant Liddicoet escorted the plaintiff out of the police lobby.
The plaintiff was briefly pushed forward over the threshold of the sliding glass doors
where she remained outside the police building. The force to push on her arms to
move her body was minimal and reasonable to remove her from the facility.”

(d) Page 6, Paragraph 9, “Probable cause to detain and arrest is based on a set of facts that
would cause a person of ordinary care and prudence to entertain an honest and strong
belief that the person to be stopped and searched may be in possession of contraband.”
What is Zwickey talking about? This statement has no application to this case.
(Opinion)

(ec) Pages 6 & 7, Paragraphs 10-12, these are superfluous and have remote application
to this case. (Opinion)

(f) Page 7, Paragraph 13, “The plaintiff told Sergeant Schroeder that she felt that Officer
McCarthy battered her while talking to him and Lieutenant Liddicoet. She stated she
wanted to file a complaint against him.”

(g) Page 7, Paragraph 15, “The plaintiff eventually left the lobby without force.”

(h) Page 7, Paragraph 16, “Several minutes after the dispatch center contacted Sergeant
Schroeder advising that the plaintiff was now calling on the courtesy phone again,
demanding that someone come and take a criminal police report against Officer
McCarthy.”

(i) Page 8, Paragraph 19, “When the plaintiff refused to accept Sergeant Clark’s
recommendations, she demanded that a criminal complaint be file against Corporal
Whitney.” Does Zwickey mean Officer McCarthy? There was no basis for a
criminal complaint being filed against Corporal Whitney.

(j) Page 8, Paragraph 19, “When it became apparent that the plaintiff was not going to
comply with Sergeant Clark’s instructions, the plaintiff was placed under arrest.”

(k) Page 8, Paragraph 21, “Based on the totality of the facts and circumstances, it was
reasonable to arrest the plaintiff for various penal code violations, and to transport her
to a holding facility.” What were the “various penal code violations”?

(1) Page 10, Paragraph 8, “The defendant’s selection of the force used to control the
plaintiff was based on their reasonable belief that the plaintiff had committed a crime of
possession of illegal drugs. The plaintiff was actively resisting by evading arrest by
running away from the defendants, and he committed a battery and an assault on the
officers as they attempted to take him into custody.” What is Zwickey talking about?
This paragraph has absotutely no application to this case.

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(m)Page 10, Paragraph 10, “The plaintiff's willful and unreasonable actions of repeatedly
calling the dispatch center telephone to air her complaints, and her failure to leave the
premises after she was warned that failure to obey a lawful order, constituted a
criminal act.” There is no such crime of “failing to obey a lawful order” under the
circumstances of this case. (Opinion)

6. Complaint (12 pages) for Violation of Civil Rights; False Arrest; Assault and Battery;
Abuse of Process, Negligence: Loss of - ---.

(a) Page 3, Plaintiff arrived at the Vallejo Police Department at approximately 5:30 P.M.
Jamal Thrower was present at this time.

(b) Page 3, the police lobby closed at 7:00 P.M.?

(c) Page 4, “- - - - , one of the officers stomped on the Plaintiff LATEACHEEAH G.
ANDERSON SALVATTO’S foot breaking it.”

7. Vallejo Police Department Crime Report # 03-303 (7 pages including Attachments),
charging 602.1 (b), dated 01/05/03, filed by B. Clark #436.

(a) Page 1, Time of Occurrence: 1940 hours.

8. Incident at Vallejo Police Headquarters, Sunday January 5, 2000, Affirmed Statement of
LaTeacheeah G. Anderson Salvatto (14 pages).

(a) Page 1, with regard to Jamal, “I asked them could I call home and they wouldn’t let
me.” If that is true, Jamal should have been allowed to call home. In fact,
Corporal Whitney should have made the call. (Opinion)

(b) Page 4, “You need to step outside” the commander insisted and again looked at the
other officer, the other officer stepped toward me and pushed me toward the door
with his elbow, 1 put my hands up and motioned to the officer to stop, I was afraid and
I told him, “Please officer you don’t; have a right to touch me, if I did that to you, you
would charge with assault. Will you please step back you’re scaring me.”

(c) Page 5, “My feet were planted somewhat firmly; the officer noticed this and moved in
closer and placed his knee upon the side of my thigh and kick (sic) my right foot
with his shoe/boot. I was knocked off balance and the officer continued to push me
out of the building.”

(d) Page 6, Salvatto is alleging that Corporal Whitney spoke to her after she had been
pushed out of the door.

(e) Page 10, Salvatto alleges that she was taken into custody while standing by her
vehicle, and after the officer examined her tape-recorder.

9. Declaration of Aimee Knight (2 pages).

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(a) Preserved the audio recordings of telephone calls made by Mrs. Salvatto via the the
Vallejo Police Department exterior courtesy telephone.

Exhibit “A”, Vallejo Police Department Transcript Excerpt (7 pages) from Digital
Recording System, telephone call from of LaTeacheeah Salvatto.

(a) Page 4, this appears to be subsequent to her forced removal from the police
department.

(b) This appears to be the transcript for six (6) telephone calls.

Ms. Salvatto did not violate Penal Code Section 653m, Annoying Electronic
Communication, (Opinion)

Ms. Salvatto should not have been removed by force from the police lobby unless she
was being arrested. (Opinion)

Ms. Salvatto should not have been arrested while in a public place, outside the police
department facility. There was, at that time, no violation of Penal Code Section 602.1,
“Interfering with Business Operation”. (Opinion)

The following are excerpts from the California Penal Code:

PC§ 148. Resist, Obstruct, Delay of Peace Officer or EMT

(a) (1) Every person who willfully resists, delays, or obstructs any public officer, peace
officer, or an emergency medical technician, as defined in Division 2.5
(commencing with Section 1797) of the Health and Safety Code, in the discharge
or attempt to discharge any duty of his or her office or employment, when no other
punishment is prescribed, shall be punished by a fine not exceeding one thousand
dollars ($1,000), or by imprisonment in a county jail not to exceed one year, or by
both that fine and imprisonment.

(Amended by Stats. 1999, Ch. 853, Sec. 8. Effective January 1, 2000.)
(Amended by Stats. 1997, Ch. 464, Sec. 1. Effective January 1, 1998.)

PC§ 602.1. Interfering with Business Operation

(a) Any person who intentionally interferes with any lawful business or occupation
carried on by the owner or agent of a business establishment open to the public, by
obstructing or intimidating those attempting to carry on business, or their customers, and
who refuses to leave the premises of the business establishment after being requested to
leave by the owner or the owner's agent, or by a peace officer acting at the request of
the owner or owner's agent, is guilty of a misdemeanor, punishable by imprisonment in a
county jail for up to 90 days, or by a fine of up to four hundred dollars ($400), or by both
that imprisonment and fine.

(b) Any person who intentionally interferes with any lawful business carried on by
the employees of a public agency open to the public, by obstructing or intimidating

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those attempting to carry on business, or those persons there to transact business with
the public agency, and who refuses to leave the premises of the public agency after being
requested to leave by the office manager or a supervisor of the public agency, or by a
peace officer acting at the request of the office manager or a supervisor of the public
agency, is guilty of a misdemeanor, punishable by imprisonment in a county jail for up to
90 days, or by a fine of up to four hundred dollars ($400), or by both that imprisonment
and fine.

(c) This section shall not apply to any of the following persons:

(1) Any person engaged in lawful labor union activities that are permitted to be carried
out on the property by state or federal law.

(2) Any person on the premises who is engaging in activities protected by the
California Constitution or the United States Constitution.

(d) Nothing in this section shall be deemed to supersede the application of any other
law.

(Amended by Stats. 1994, Ch. 820, Sec. 3. Effective January 1, 1995.)
PC§ 653m. Annoying Electronic Communication

(a) | Every person who, with intent to annoy, telephones or makes contact by means of
an electronic communication device with another and addresses to or about the other
person any obscene language or addresses to the other person any threat to inflict injury to
the person or property of the person addressed or any member of his or her family, is
guilty of a misdemeanor. Nothing in this subdivision shall apply to telephone calls or
electronic contacts made in good faith.

(b) Every person who makes repeated telephone calls or makes repeated contact by
means of an electronic communication device with intent to annoy another person at his or
her residence, is, whether or not conversation ensues from making the telephone call or
electronic contact, guilty of a misdemeanor. Nothing in this subdivision shall apply to
telephone calls or electronic contacts made in good faith.

(c) Every person who makes repeated telephone calls or makes repeated contact by
means of an electronic communication device with the intent to annoy another person at
his or her place of work is guilty of a misdemeanor punishable by a fine of not more than
one thousand dollars ($1,000), or by imprisonment in a county jail for not more than one
year, or by both that fine and imprisonment. Nothing in this subdivision shall apply to
telephone calls or electronic contacts made in good faith. This subdivision applies only if
one or both of the following circumstances exist:

(1) There is a temporary restraining order, an injunction, or any other court order, or

any combination of these court orders, in effect prohibiting the behavior described in this
section.

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(2) The person makes repeated telephone calls or makes repeated contact by means of
an electronic communication device with the intent to annoy another person at his of her
place of work, totaling more than 10 times in a 24-hour period, whether or not
conversation ensues from making the telephone call or electronic contact, and the repeated
telephone calls or electronic contacts are made to the workplace of an adult or fully
emancipated minor who is a spouse, former spouse, cohabitant, former cohabitant, or
person with whom the person has a child or has had a dating or engagement relationship or
is having a dating or engagement relationship.

(d) Any offense committed by use of a telephone may be deemed to have been
committed where the telephone call or calls were made or received. Any offense
committed by use of an electronic communication device or medium, including the
Internet, may be deemed to have been committed when the electronic communication or
communications were originally sent or first viewed by the recipient.

(e) Subdivision (a), (b), or (c) is violated when the person acting with intent to annoy
makes a telephone call requesting a return call and performs the acts prohibited under
subdivision (a), (b), or (c) upon receiving the return call.

(f) If probation is granted, or the execution or imposition of sentence is suspended, for
any person convicted under this section, the court may order as a condition of probation
that the person participate in counseling.

(g) For purposes of this section, the term “electronic communication device" includes,
but is not limited to, telephones, cellular phones, computers, video recorders, fax
machines, or pagers. "Electronic communication" has the same meaning as the term
defined in Subsection 12 of Section 2510 of Title 18 of the United States Code.

(Amended by Stats. 1999, Ch. 83, Sec. 147. Effective January 1, 2000.)
(Amended by Stats. 1998, Ch. 826, Sec. 2. Effective January 1, 1999.)

PC§ 832.5. Citizen Complaints

(a) Each department or agency in this state that employs peace officers shall establish a
procedure to investigate complaints by members of the public against the personnel of
these departments or agencies, and shall make a written description of the procedure
available to the public.

(b) | Complaints and any reports or findings relating to these complaints shall be
retained for a period of at least five years, All complaints retained pursuant to this
subdivision may be maintained either in the officer's general personnel file or in a separate
file designated by the department or agency as provided by department or agency policy, in
accordance with all applicable requirements of law. However, prior to any official
determination regarding promotion, transfer, or disciplinary action by an officer's
employing department or agency, the complaints described by subdivision (c) shall be
removed from the officer's general personnel file and placed in separate file designated by
the department or agency, in accordance with all applicable requirements of law.

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(c) Complaints by members of the public that are determined by the peace officer's
employing agency to be frivolous, as defined in Section 128.5 of the Code of Civil
Procedure, or unfounded or exonerated, or any portion of a complaint that is determined
to be frivolous, unfounded, or exonerated, shall not be maintained in that officer's general
personnel file. However, these complaints shall be retained in other, separate files that shall
be deemed personnel records for purposes of the California Public Records Act (Chapter
3.5 (commencing with Section 6250) of Division 7 of Title 1 of the Government Code)
and Section 1043 of the Evidence Code.

(1) Management of the peace officer's employing agency shall have access to the files
described in this subdivision.

(2) | Management of the peace officer's employing agency shall not use the complaints
contained in these separate files for punitive or promotional purposes except as permitted
by subdivision (f) of Section 3304 of the Government Code.

(3) Management of the peace officer's employing agency may identify any officer who
is subject to the complaints maintained in these files which require counseling or additional
training. However, if a complaint is removed from the officer's personnel file, any reference
in the personnel file to the complaint or to a separate file shall be deleted.

(d)  Asused in this section, the following definitions apply:

(1) "General personnel file" means the file maintained by the agency containing the
primary records specific to each officer's employment, including evaluations, assignments,
status changes, and imposed discipline.

(2) "Unfounded" means that the investigation clearly established that the allegation is
not true.

(3) "Exonerated" means that the investigation clearly established that the actions of the
peace officer that formed the basis for the complaint are not violations of law or
department policy.

(Amended by Stats. 1998, Ch, 25, Sec. 1. Effective January 1, 1999.)
The following are excerpts from the California Welfare & Institutions Code:
WI§ 602. Violation of Law by Minor; Juvenile Court Jurisdiction

(a) Except as provided in subdivision (b), any person who is under the age of 18
years when he or she violates any law of this state or of the United States or any ordinance
of any city or county of this state defining crime other than an ordinance establishing a
curfew based solely on age, is within the jurisdiction of the juvenile court, which may
adjudge such person to be a ward of the court.

(Amended by Stats. 2001, SB 205, Ch. 854, Sec. 72.)
(Added by Proposition 21, Approved by Voters March 7, 2000)
(Amended by Stats. 1999, SB 334, Ch. 996, Sec. 12.2 Effective October 10, 1999)

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WI§ 626. Officer Actions upon Temporary Detention

An officer who takes a minor into temporary custody under the provisions of Section 625
may do any of the following:

(a) Release the minor.

(b) Deliver or refer the minor to a public or private agency with which the city or
county has an agreement or plan to provide shelter care, counseling, or diversion services
to minors so delivered.

(c) Prepare in duplicate a written notice to appear before the probation officer of
the county in which the minor was taken into custody at a time and place specified in the
notice. The notice shall also contain a concise statement of the reasons the minor was
taken into custody. The officer shall deliver one copy of the notice to the minor or to a
parent, guardian, or responsible relative of the minor and may require the minor or the
minor's parent, guardian, or relative, or both, to sign a written promise to appear at the
time and place designated in the notice. Upon the execution of the promise to appear, the
officer shall immediately release the minor. The officer shall, as soon as practicable, file
one copy of the notice with the probation officer. The written notice to appear may require
that the minor be fingerprinted, photographed, or both, upon the minor's appearance
before the probation officer, if the minor is a person described in Section 602 and he or she
was taken into custody upon reasonable cause for the commission of a felony.

(d) Take the minor without unnecessary delay before the probation officer of the
county in which the minor was taken into custody, or in which the minor resides, or in
which the acts take place or the circumstances exist which are alleged to bring the minor
within the provisions of Section 601 or 602, and deliver the custody of the minor to the
probation officer. The peace officer shall prepare a concise written statement of the
probable cause for taking the minor into temporary custody and the reasons the minor was
taken into custody and shall provide the statement to the probation officer at the time the
minor is delivered to the probation officer. In no case shall the officer delay the delivery of
the minor to the probation officer for more than 24 hours if the minor has been taken into
custody without a warrant on the belief that the minor has committed a misdemeanor.

In determining which disposition of the minor to make, the officer shall prefer the
alternative which least restricts the minor's freedom of movement, provided that alternative
is compatible with the best interests of the minor and the community.

(Amended by Stats. 2001, AB 701, Ch. 334, Sec. 1.)
WI§ 627. Officer Notice to Parent When Taking Minor to Juvenile Hall

(a) When an officer takes a minor before a probation officer at a juvenile hall or fo
any other place of confinement pursuant to this article, he shall take immediate steps to
notify the minor's parent, guardian, or a responsible relative that such minor is in custody
and the place where he is being held.

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(b) Immediately after being taken to a place of confinement pursuant to this article
and, except where physically impossible, no later than one hour after he has been taken
into custody, the minor shall be advised and has the right to make at least two
telephone calls from the place where he is being held, one call completed to his parent
or guardian, a responsible relative, or his employer, and another call completed to an
attorney. The calls shall be at public expense, if the calls are completed to telephone
numbers within the local calling area, and in the presence of a public officer or employee.
Any public officer or employee who willfully deprives a minor taken into custody of his
right to make such telephone calls is guilty of a misdemeanor. 7.

4b EE

My qualifications to render these opinions are:

EDUCATION & CREDENTIALS

Stanford University, Palo Alto, California
Continuing Studies Program 1999-2001

California State University at Los Angeles
Master of Science, Criminal Justice 1971-76

California State College at Los Angeles
Bachelor of Science, Police Science & Administration 1967-70 .

Compton College, Compton, California
Associate of Arts 1959-67

Compton College, Compton, California
Traffic Control 1966

Compton College, Compton, California
Vehicle Code 1966

California State College at Los Angeles
Traffic Supervision 1968

California State Department of Education, Bureau of Industrial Education
Techniques of Teaching 1976

State of California, Commission for Teacher Preparation and Licensing
Designated Subjects (Ryan) Teaching Credential 1977-82

California Community Colleges Instructor Credential
Subject Matter Area: Police Science (valid for life) 1977

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Report S Charles Sire) Feteier: sg. Divine). Gry bYVaheo UPd, Page 67 of 93

Instructor — Long Beach Police Department/Long Beach City College
Training Officer Seminar, “Report Review Problem Areas”
Recruit Academy, “Vice Investigations”

Recruit Academy, “Disturbance Calls”

California Specialized Training Institute, San Luis Obispo, California
Emergency Management-Earthquake
Disaster Damage Assessment

Federal Bureau of Investigation
Critical Incident Management and Tactics

Michigan State University, East Lansing, Michigan
“Conference on Community Policing & Drugs”, Presenter/Panelist,
“Drug Sales: Providing a Sustained Police Presence”

California Commission on Peace Officer Standards & Training
Executive Development Course
Commander Course (Vice, Narcotics & Intelligence)
Middle Management Course
Sergeant Supervisory Course
Los Angeles County Sheriff's Academy

California Commission on Peace Officer Standards & Training - Certificates
Basic
Intermediate
Advanced
Supervisory
Management

Long Beach Police Officers’ Association
Member of Board of Directors

California Peace Officers' Association
Chairman - Police Community Relations Committee
Police Pursuits - Ventura County Sheriff's Department

Long Beach Police Department
Sergeant/Civilian Supervisor Course

Long Beach Police Department
Ethics and Integrity Training (P.O.S.T.)

Long Beach Police Department
Verbal Judo — Command Staff

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Los Angeles Police Department
Threat Management Conference - Disneyland Hotel
Anaheim, California

California Peace Officers' Association
Police Pursuits - Ventura County Sheriffs Department
Chairman - Police Community Relations Committee

American Society for Industrial Security
Physical Security - Crowne Plaza Hotel, Redondo Beach, California

Certificate of Fitness (License to Consult) - Fire/Life Safety/High-Rise Buildings
City of Los Angeles Fire Department — Not renewed

California Judges Association - The Rutter Group
Use and Abuse of Expert Witnesses - The Hyatt Regency Hotel, Irvine, CA

Certified Protection Professional (CPP) - American Society for Industrial Security
Valid 1995 through 12-31-2003

Security Services Survey — Epson America
Torrance, California

Police Response to Violence in the Workplace — Seminar Presenter
World Trade Center, Long Beach, California

Security Services Survey — Chevron Corporation, El Segundo, California

Security Services Survey — World Trade Center, Long Beach, California

Security Officer and the Law Training — Instructor — American Protective Services
Security Officer and the Law Training — Instructor —- The Macerich Company

Security Investigations — Instructor — American Protective Services
Fremont, California

American Society for Industrial Security
Professional Investigations - Crowne Plaza Hotel, Redondo Beach

American Society for Industrial Security/Los Angeles Police Department
LEAPS Conference 2000 ~ Security-Police Partnership

American Society for Industrial Security/Los Angeles Police Department
LEAPS Conference 2001 — Security-Police Partnership

Consultant, ABS Consulting, Risk Consulting Division, Assessment Proposal
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Case 2:04-cy-Q0163-WBS-GGH Rocument Fil /05/07 Page 69 of 93
é ork: Charles Ye Tre Fletcher ts . _ Ivatto ve Ci 0 Viutlero et al. g
Port of Long Beach, Harbor Department, Security Division 2002

S.E.A.K. / F.E.W.A. 2005 Expert Witness Pre-Conference/Summit, Attendee
Sutton Place Hotel, Newport Beach, California 2005

S.E.A.K. / F.E.W.A. 2005 Expert Witness Pre-Conference/Summit, Speaker,
“Dealing with Counsel, How Not to Get Burned”
Sutton Place Hotel, Newport Beach, California 2005

CONSULTANT/EXPERT WITNESS

1. Consultant/Expert (P), Police Practices (Vehicle Pursuit), Deposition/Trial Testimony,
Tomlinson v. City of Long Beach, Los Angeles County Superior Court, 1994-95; Verdict:
$15,000,000 gross, Affirmed -Court of Appeal, Second Appellate District, Division Seven,
March 11, 1997

2. Consultant/Expert (P), Police Practices (Police Vehicle Operations), Deposition
Testimony, Powers v. City of Carlsbad, San Diego County Superior Court, 1996;
Settlement: $1,700,000 including an annuity for the plaintiff with a guaranteed pay-out of
$3,610,436 and an expected pay-out of $9,130,933

3. Consultant/Expert (P), Police Practices (Use of Force), Deposition/Trial Testimony, Johnson y.
City of Long Beach, United States District Court, Central District of California, 1996; Hung Jury 6-3
(Plaintiff), Settlement

4. Consultant/Expert (P), Police Practices (Police Conduct - Suicidal Person), Jensen v.
City of San Diego, San Diego County Superior Court, 1996, Dismissal by Plaintiff

5. Consultant/Expert (P), Police Practices (Vehicle Pursuit), Deposition Testimony,
Pierce v. City of Cathedral City, Riverside County Superior Court, 1996, Settlement

6. Consultant (P), Police Practices (Probable Cause, Execution of Search Warrants), Fragale v. City
of El Segundo, et al., Los Angeles County Superior Court, 1997

7. ConsultanvExpert (P), Police Practices (Search/Body Fluids), Deposition Testimony,
Vancleave v. City of Glendale, et al, United States District Court, Central District of
California, 1997, Settlement

8. Consultant (D), Police Practices (Detention/Arrest/Use of Force), People v. Loomis, Los Angeles
County Municipal Court, 1997, Jury Conviction, Declined

9. Consultant/Expert (P), Police Practices (Police Vehicle Operations), Deposition

Testimony, Meizler v. Asphalt Construction, et al., Los Angeles County Superior Court,
North District, 1997, Settlement

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10. Consultant/Expert (P), Police Practices (Use/Investigation of Deadly Force),
Deposition/Trial Testimony, Buck v. City of Long Beach, os Angeles County Superior
Court, 1997, Defense Verdict

11.Consultant/Expert (P), Police Practices (Misconduct, Corruption), Joseph v. City of Long
Beach, et al, United States District Court, Central District of California, 1997, Settlement
($57,500)

12. Consultant/Expert (P), Police Practices (Detention/Arrest/Probable Cause/Misconduct),
Deposition Testimony, Jacobson v. City of Los Angeles, Los Angeles County Superior Court, 1997,
Defense/Plaintiff Verdicts

13. Consultant/Expert (P), Police Practices (Vehicle Pursuit), Declaration, Deposition Testimony,
Magdaleno v. City of Fountain Valley, et al., Orange County Superior Court, 1997, Settlement
($750,000)

14. Consultant/Expert (D), Police Practices (Arrest/Probable Cause/Controlled Substance),
People v. Tovar, Los Angeles County Superior Court, 1997, Plea Bargain

15. Consultant/Expert (P), Police Practices (Arrest/Probable Cause/Terrorist Threats), Declaration,
Hargreaves v. Robert Half International, Inc., et al., Los Angeles County Superior Court, 1997

16. Consultant/Expert (P), Police Practices (Arrest/Probable Cause/Public Intoxication),
Deposition/Trial Testimony, Andy Tran v. City of Anaheim, United States District Court,
Central District of California, 1997, Defense Verdict

17. Consultant (P), Police Practices (Arrest/Mentally Disturbed Person/Use of Deadly
Force), Declaration, Margaret Munoz, et al. v. City of San Bernardino, et al., 1997,
Dismissal (Plaintiff)

18. Consultant (P), Threat Management (Wrongful Death), Declaration, Ji & Liu v. Peng & Peng,
United States District Court, Central District of California, 1998

19, Consultant/Expert (P), Police Practices (Use/Investigation of Deadly Force), Krone Tremain vy,
City of Long Beach, Los Angeles County Superior Court, 1998, Dismissal

20. Consultant/Expert (P), Police Practices (Use of Deadly Force), Declaration, Maria Hernandez, et
‘al. v. City of Huron, et al., United States District Court, Eastern District of California, 1998,
Settlement, $530,000

21. Consultant/Expert (P), Police Practices (Probable Cause, Execution of Search Warrants),
Deposition/Trial Testimony, Tony Nammari, et al. v. City of Huntington Beach, Orange County
Superior Court, 1998, Defense Verdict

22.Consultant/Expert (P), School Security Practices (Reporting/Investigation of Child Abduction),
Deposition/Trial Testimony, Morse v. La Mesa Spring Valley School District, et al., San Diego
County Superior Court, 1998, Plaintiff Verdict

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Report Sthartes Yeyprey Fletcher isa! -SAHanG Chey SF Pago HGs, Page 71 of 92

23. Consultant/Expert (P), Police Practices (False Arrest/Civil Dispute
Handling/Misconduct), Eli K. Mellor, THE TIME |S NOW GROUP v. Ralph Dean, City of
Claremont, et al., United States District Court, Central District of California, 1998,
Settlement

24. Consultant (P), Police Practices (Arrest Procedures/Firearms Procedures/Use of Deadly Force),
Cardell Grays v. City of Modesto, et al., United States District Court, Eastern District of California,
1998, Settlement

25. Consultant/Expert (P), School Security Practices (Use of Force), Deposition/Evidence Code
402/Trial Testimony, Jose Urtez v. Compton Unified School District, et al., Los Angeles County
Superior Court, 1998, Hung Jury (6-6), Settlement

26. Consultant/Expert (P), Police Practices (Detention/Arrest/Probable Cause/Use of
Force/Misconduct), Gary Jackson v. K. S. Tripp, et al., United States District Court, Central
District of California, 1998, Settlement

2/.Consultant (P), Police Practices (Detention/Probable Cause/Search and Seizure
/Misconduct), Ryan Huntsman v. Newport Beach Police Department, et al., United States
District Court, Central District of California, 1998, Settlement

28. Consultant/Expert (P), Police Practices (Personnel Practices/Negligent
Hiring/Retention/Failure to Discipline/Misconduct), Deposition/Evidence Code 402/Trial
Testimony, Benjamin Chavarria v. City of Gonzales, et al., Monterey County Superior
Court, 1998, Non-suit

29. Consultant/Expert (P), Police Practices (Detention/Arrest/Probable Cause/Use of
Force/Misconduct), Adam Jacek Jawien v. City of Santa Monica, et al., Los Angeles County
Superior Court, 1998, Settlement

30. Consultant/Expert (P), Police Practices (Detention/Arrest/Probable Cause/Use of
Force/Misconduct), Hagood v. City of Los Altos, et al., Santa Clara County Superior Court, 1998,
Settlement

31.Consultant/Expert (D), Security Practices, Brigitte Brewer, et al. v. Denny’s Restaurant, et al.,
Los Angeles County Superior Court, 1998, Settlement

32. Consultant/Expert (P), Police Practices (Detention/Arrest/Probable Cause/Misconduct), Darrell
Taylor v. County of Los Angeles, et al., United States District Court, 1998, Settlement

33. Consultant/Expert (P), Police Practices (Detention/Arrest/Probable Cause/Misconduct),

Damien Deshay Burris v. D. Lada #23038, et al., Los Angeles County Superior Court, 1998,
Settlement

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34. Consultant/Expert (P), Police Practices (Arrest/Probable Cause/Failure to Provide
Medical Treatment), Deposition Testimony, Joseph Edward Wall, et al. v. City of Fontana,
et al., San Bernardino County Superior Court, 1998, Settlement

35. Consultant/Expert (P), Police Practices (Use of Force), Deposition/Trial Testimony, Robert
Taylor v. County of San Bernardino, et al., San Bernardino County Superior Court, 1998, Defense
Verdict

36. Consultant/Expert (P), Police/Security Practices (Use of Force, Unlawful Entry), Tiseo &
Halter v. City of Huntington Beach, et al., Orange County Superior Court, 1998, Settlement
37.Consultant/Expert (D), Security Practices (Probable Cause/Detention/Arrest), Villareal!
v. Vons, et al., Los Angeles County Superior Court, 1998, Settlement

38. Consultant/Expert (P), Police Practices (Domestic Violence Procedures), Declaration, Tristan
Ellsworth, et al., v. County of Orange, et al., Orange County Superior Court, 1998, MSJ Granted

39. Consultant/Expert (P), Police Practices (Use of Deadly Force), Declaration, Mattie
Harrel v. City of Stockton, et al., United States District Court, Eastern District of California, 1998,
MSJ Granted

40. Consultant/Expert (P), Police Practices (Use of Deadly Force), Deposition Testimony,
Einbeck, et al. v. Nickerson, et al., United States District Court, Southern District of California,
1999, MSJ Granted

41. Consultant/Expert (P), School Security Practices (Discrimination), Denice C. Price v. Long Beach
Unified School District, et al., Los Angeles County Superior Court, 1999, Settlement

42. Consultant/Expert (D), Police Practices (Probable Cause/Investigation/Reporting), Trial
Testimony, People v. Walter Roy Mitchell, Orange County Municipal Court, 1999, Hung Jury (7-5
Acquittal)

43. Consultant/Expert (D), Security Practices (Premises/Persons), Mal Seon Kwon v. Worldwide
Security, Los Angeles County Superior Court, 1999, Settlement

44. Consultant/Expert (D), Security Practices (Premises/Persons), Nathan Radi v. Ace Security, Los
Angeles County Superior Court, 1999

45. Consultant/Expert (D), Police Practices (Probable Cause/Investigation/Use of Force/Reporting),
People v. Michael Alan Clinton, Orange County Municipal Court, 1999

46. Consultant/Expert (D), Security Practices (Premises Liability), Joe Shell v. Motel 6, Worldwide
Security Associates Inc., Los Angeles County Superior Court, 1999, Settlement

47. Consultant/Expert (P), Police Practices (Use of Deadly Force), Sylvia Bethea, et al. v. County of
Los Angeles, et al., United States District Court, Central District of California, 1999, Settlement

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Report Charles Jeffrey Flachor bey. ~'SANane' Chy of Pattero wai, Pade 73 of 93

48. Consultant/Expert (P), Police Practices (Use of Force), Deposition/Trial Testimony, Alejandro
Ponce v. John Byron; City of Santa Ana, Orange County Superior Court, 1999, Defense Verdict

49. Consultant/Expert (P), Security Practices (Premises Liability, Detention, Use of Force),
Deposition/Trial Testimony, Oliver Olson v. Sagebrush Cantina, et al., Los Angeles County
Superior Court, 1999, Plaintiff Verdict

50. Consultant/Expert (P), Police Practices (Investigation, Jail Procedures, Care of Prisoners), Ruben
Garcia, et al. v. County of Los Angeles, et al., Los Angeles County Superior Court, 1999, Settlement

51. Consultant/Expert (D), Police Practices (Use of Force, Jail Procedures, Care of Prisoners),
Kenneth Neighbors v. County of Butte, et al., United States District Court, Eastern District of
California, 1999, Settlement

52. Consultant/Expert (P), Police Practices (Use of Force), Neil Hays & Bonnie Hays v. City of
Glendale, et al., United States District Court, Central District of California, 1999, Dismissal

53. Consultant/Expert (D), Police Practices (Probable Cause/Arrest/Evidence Procedures), People v.
Ira Ethan Nesbitt, Los Angeles County Superior Court, 1999, Plea Bargain, Declined

54, Consultant/Expert (P), Police Practices (Juvenile Investigations/Probable Cause/Arrest/),
Declaration, Bautista v. County of Kern, et al. , United States District Court, Eastern District of
California, 1999, Dismissal

55. Consultant/Expert (D), Security Practices (Probable Cause/Investigation/Reporting), People v.
Leu & Jiau, Orange County Municipal Court, 1999, Plea Bargain

56. Consultant/Expert (P), Police Practices (Fraudulent Entry of Warrant), Deposition Testimony,
Theresa Goldston v. City of South Pasadena, et al., Los Angeles County Superior Court, 1999

57. Consultant/Expert (P), Police Practices (Insurance Bad Faith), Declaration, Wendi & Gary
Samaniego v. Farmers Insurance Exchange, Orange County Superior Court, 1999, MSJ Granted

58. Consultant/Expert (P), Police Practices (Jail Procedures), Lucy Bartlett & Larry Bartlett v.
Sergeant Duran, et al., United States District Court, Central District of California, 1999, Settlement

59. Consultant/Expert (P), Police Practices (Detention/Arrest/Probable Cause/Person Search/Use of
Force/Misconduct), Robert Eugene Snyder v. City of Fullerton, et al., United States District Court,
Central District of California, 1999, Settlement

60. Consultant/Expert (P), Security Practices (Failure to Provide Security), Donna J. Banks, et al., v.
Oceangate Square Homeowners’ Association, Los Angeles County Superior Court, 1999, MSJ
Granted

61. Consultant (P), Police Practices (Use of Deadly Force, Criminal Investigation, Reporting
Procedures, Administrative Procedures), Michael Federici vy. Citv of Mesa, ig ca. ef al.,1999,
Declined

 

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62. Consultant (P), Police Practices (Detention/Arrest/Failure to Provide Medical Treatment/Use of
Force/Misconduct), Tremaine D. Brown v. City of Riverside, et al., 1999

63. Consultant/Expert (P), Security Practices (Safety Hazards), Deposition/Evidence Code 402
Testimony, Medel vy. Los Angeles Metropolitan Transit Authority, et al., Los Angeles County
Superior Court, 1999

64. Consultant/Expert (D), Security Practices (Failure to Provide Security), Mary Pulido v.
Worldwide Security, et al., Orange County Superior Court, 1999, Settlement

65. Consultant/Expert (P), Police Practices (Detention, Arrest, Use of Force), Deposition Testimony,
Anand-Gurdas Singh v. City of Oakland, et al., United States District Court, 1999, Settlement

66. Consultant/Expert (P), Police Practices (Use of Deadly Force), Deposition/Trial Testimony,
Demetrius DuBose y. City of San Diego, et al., United States District Court, 1999, Defense Verdict

67. Consultant/Expert (P), Security Practices (Abandonment of Post, Crime Prevention, Contract
Provisions), Declaration, Deposition/Private Trial Testimony, David Wong v. Alhambra Golden
Valley Shopping Center, Inc., et al., Los Angeles County Superior Court, 1999, Private Trial -
Plaintiff Verdict

68. Consultant (P), Police Practices (Probable Cause, Search of Vehicle, Misconduct), Simpson v.
City of San Jose, et al., Santa Clara County Superior Court, 1999 .

69. Consultant/Expert (P), School Security Practices (School Violence Procedures), Tyars & Raby v v.
County of Los Angeles, et al., Los Angeles County Superior Court, 1999, Settlement

70. Consultant (P), Police Practices (Investigation Procedures, Probable Cause, Arrest, Misconduct),
Shamshoum vy. City of Escondido, et al., 1999

71. Consultant/Expert (D), Police Practices (Probable Cause, Arrest, Booking Procedures, Use of
Force), Lewis v. City of Colton, et al., United States District Court, Central District of California,
2000, Experts Excluded.

72. Consultant/Expert (P), Police Practices (Probable Cause, Use of Force, Arrest), Edwin Raymone
Morgan v. City of Oakland, et al., United States District Court, Eastern District of California, 2000,

Settlement

73. Consultant/Expert (P), Security Practices (Need Assessment), Declaration, Theresa Langell v.
Looff’s Amusements, et al., Los Angeles County Superior Court, 2000, Settlement

74. Consultant/Expert (P), Police Practices (Child Abuse/Homicide Investigation, Misconduct), Renee
Neaves, et al. v. City of San Diego, et al., United States District Court, 2000, MS/JG, On Appeal

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Report’ SChartes Yeffrey Felcher Chg. BonaneY City GF VaRGP UG, Page 75 of 93

75. Consultant/Expert (P), Police Practices (Probable Cause, Use of Force, Arrest), Bryan Scott v.
City of Oakland, et al. United States District Court, Eastern District of California, 2000, Settlement

76. Consultant/Expert (P), Police Practices (Probable Cause, Use of Force, Arrest), Olivia Alejandre
v. Citv of Keizer, Oregon, et al., United States District Court, District of iggy
Settlement

 

77. Consultant (P), Police Practices (9-1-1 Procedures, Emers enc Response), Murrell Porche v. Citv
of Chicago, Illinois, et al., Circuit Court of Cook County, igiiiimaaane

  

78. Consultant (P), Police Practices (Alcoholic Beverage Control), Security Practices (Safety), Ramos
y. Mindas Restaurant, et al., 2000

79, Consultant/Expert (P), Police Practices (Booking/Identification Procedures), Pham v. Michael
Capizzi, et al., United States District Court, Central District of California, 2000

80. Consultant/Expert (P), Police Practices (Probable Cause, Vehicle/Person Search, Misconduct),
Declaration, LaBomme/Scrivens v. City of Barstow, et al., San Bernardino County Superior Court,
2000

81. Consultant/Expert (P), Security Practices (Hiring, Training, Supervision, Use of Force),
Deposition/Trial Testimony, Milin v. Cohiba Cigars, et al., Los Angeles County Superior Court,
2000, Defense Verdict

82. Consultant/Expert (P), Security Practices (Hiring, Training, Supervision, Use of Force), Anthony
Rain v. Cowboy Boogie, et al., Orange County Superior Court, 2000, Settlement

83. Consultant/Expert (P), Police Practices (Arrest Tactics), Declaration, Frost v. County of Sonoma,
et al., Sonoma County Superior Court, , 2000, MSJ Granted, L Decline

84. Consultant/Expert (P), Police Practices (Administration, Fitness for Duty), Deposition Testimony,
Gonzales/Johnson v. Kazaryan, Los Angeles County Superior Court, 2000

85. Consultant/Expert (P), Police/Security Practices (Homicide Investigation, Physical Security,
Foreseeability), Deposition Testimony, Elizondo v. Brightonwood Townhomes, et al., Los Angeles
County Superior Court, 2000, Settlement, $2,300,000.

86. Consultant/Expert (P), Security Practices (Physical Security, Foreseeability), Declaration,
Bonilla, et al. v. Purayidom, et al., Los Angeles County Superior Court, 2000, Settlement

87. Consultant (D), Police Practices (Barricaded Subject, Use of Force) People v. So, Los Angeles
County Superior Court, 2000, Declined

88. Consultant (D), Police Practices (Homicide Investigation, Interview of Witness), Los Angeles
County Superior Court, 2000, Declined

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89. Consultant (P), Security Practices (Contract Security Services, Foreseeability), Trial Testimony,
Stuto v. McDonalds's Restaurants, et al., Supreme Court of the State of BiRaa , County of
Suffolk, 2000, Defense Verdict

 
 

90. Consultant/Expert (D), Police Practices (Probable Cause, Arrest, Use of Force), Donald Vieth v.
P. Crowe, et al., United States District Court, Central District of California, 2000, Settlement

91. Consultant/Expert (P), Security Practices (Private Parking Enforcement, Use of Force, Hiring
Standards, Training, Supervision), Deposition Testimony, Amy Nielsen v. Motel 6, et al., Orange
County Superior Court, 2000, Plaintiff Verdict

92. Consultant/Expert (P), Police Practices (Vehicle Operations), Deposition Testimony, Kent Cesler
y. City of Davenport, Iowa, et al., BEG# District Court in and for Scott County, 2000, Plaintiff
Verdict, $1,000,000

93. Consultant/Expert (P), Police Practices (Jail Procedures), Chheang v. City of Long Beach, et al.,
Los Angeles County Superior Court, 2000, Settlement

 

94. Consultant/Expert (P), Security Practices (Arrest, Use of Force, Hiring Standards, Training,
Supervision), Travis Gillette v. Borderline Bar & Grill, Ventura County Superior Court, 2000,
Settlement

95. Consultant/Expert (P), Security Practices (Arrest, Use of Force, Hiring Standards, Training,
Supervision), Deposition Testimony, Confidential, El Dorado County Superior Court, 2000,
Settlement (Confidential)

96. Consultant/Expert (P), Police Practices (Probable Cause, Arrest, Use of Force), Chris White v.
County of Riverside, et al., United States District Court, Central District of California, 2000

97. Consultant/Expert (P), Security Practices (Foreseeability, Failure to Provide Adequate Security),
Lindo & Smith vy. Orsini, et al., Los Angeles County Superior Court, 2000, Settlement

98. Consultant/Expert (D), Security Practices (Arrest, “Probable Cause”), Rojas v. La Curacao, et
al., Los Angeles County Superior Court, 2000, Settlement

99. Consultant/Expert (P), Police Practices (Probable Cause, Arrest, Use of Force), Deposition
Testimony, Thomas Drummond y. City of Anaheim, et al., United States District Court, Central
District of California, 2000, SJ Granted, On Appeal, Reversed

100. Consultant/Expert (D), Security Practices (Security Procedures, Access Control), Rapid
Freightways v. Universal Protection Service, Binding Arbitration, 2001, Settlement

101. Consultant (P), Police Practices (Probable Cause, Arrest, Persons with Disabilities, Dependent

Children, Immigration Law), Maximiliano Mateo Morales v. City of Tustin, et al., Orange County
Superior Court, California, 2001

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Report = Chaves Ye fre) Fletcher? Esq. OnivanteV. City oF Wahi UPd, Page 77 of 93

 

102. Consultant/Expert (P), Security Practices (Arrest, Use of Force, Hiring Standards, Training,
Supervision), Declaration, Deposition Testimony, Sabow, Durante, & Meir v. Buzz Funbar, et al.,
Maricopa County Superior Court, BBggg@ind, 2001, Settlement

 

103. Consultant/Expert (P), School Security Practices (Supervision of Students), Declaration,
Deposition Testimony, Durant v. Los Angeles Unified School District, et al., Los Angeles County
Superior Court, 2001, Non-Suit, Reversed on Appeal

104. Consultant/Expert (D), Security Practices (Foreseeability, Security Measures), Declarations (2),
Gomez v. Jimmy Ly, et al., Sacramento County Superior Court, 2001, MSJ Granted

105. Consultant/Expert (P), Police Practices (Probable Cause, Arrest, Investigative Procedures), A.B.
Butler v. Citv of vier, , et al., 2001

106. Consultant (P), Police Practices (Probable Cause, Arrest, Search & Seizure), Robert Kayvon vy.
City of Gardena, et al., Los Angeles County Superior Court, California, 2001, Declined

107. Consultant/Expert (P), Security Practices (Probable Cause, Arrest, Hiring Standards, Training,
Supervision), Rita Ferrer v. K-Mart Corporation, et al., Los Angeles County Superior Court, 2001,
Settlement

108. Consultant/Expert (P), Police Practices (Probable Cause, Arrest, Investigative Procedures),
Phillips v. Beverly Hills Unified School District, et al. Los Angeles County Superior Court, 2001

109. Consultant/Expert (P), Police Practices (Probable Cause, Arrest, Investigative Procedures,
Search & Seizure, Reporting), Lutge v. City of San Rafael, et al. Marin County Superior Court, 2001

110. Consultant/Expert (P), Police Practices (Probable Cause, Arrest, Use of Force, Reporting),
Wallace v. City of Los Angeles, et al. Los Angeles County Superior Court, 2001

111. Consultant/Expert (D), Police/Security/Private Persons Practices (Probable Cause, Crime
Prevention, Reasonable Force), Carlton Robinson v. Countryside Liquors, et al., Santa Clara County
Superior Court, 2001, Settlement

112. Consultant/Expert (P), Police Practices (Traffic Citation Arrests, Search & Seizure, Jail
Procedures), Arrow Worrall v. Officer Martinez, et al., United States District Court, Central District
of California, 2001, Settlement

113. Consultant/Expert (P), Police Practices (Vehicle Pursuit), Deposition/Trial Testimony,
Declaration, Sweezev v. Hawaii County Police Department, et al., the Circuit Court of the Third

District, State of Sizes 2001, Plaintiffs’ Verdict, $5,600,000 Gross, 34% Liability.

 

114. Consultant/Expert (P), Police Practices (Police Vehicle Operations, Police Emergency
Response), Deposition/Trial Testimony, Tu Than Nguyen y., City of Westminster, et al., Orange
County Superior Court, 2001, Plaintiff Verdict (20% Liability)

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115. Consultant/Expert (P), Police Practices (Probable Cause, Seizure, Use of Deadly Force),
Gonzalez v. Cortez, et al., United States District Court, Central District of California, 2001,
Substitution of Attorneys

116. Consultant/Expert (P), Police Practices (Murder for Hire Investigation, Entrapment),
Declaration, Stalberg v. City of Montebello, et al., United States District Court, Central District of
California, 2001

117. Consultant/Expert (P), Police Practices (Use of Force, False Imprisonment, Release on
Citation), Deposition/Trial Testimony, Sanders v. City of Long Beach, et al., Los Angeles County
Superior Court, 2001, Plaintiff Verdict

118. Consultant/Expert (P), Police Practices (Probable Cause, Arrest, Use of Force, False
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Daniel Bennett v. Oxford County, GARE. et al., Oxford County Superior Court, Western District of
MAINE, 2006

 

257. Consultant (P), Security Practices (OLCC Licensed Premises, Inadequate Security, Security
Procedures, Security Reportin ), Estate of Aaron Crews v. Lucky U, et al., Multnomah County

, 2006

 

Superior Court, Portland, RAggieias

258. Consultant (D), Police Practices (Arrest Procedures, Use of Force), People y. Travis Dovle
Adams, Circuit Court of BABaagtal for Umatilla County, 2006

 

PUBLICATIONS

“Recruitment, Selection, and Training in the Long Beach Police Department,” Deputy Chief David A.
Dusenbury, Journal of California Law Enforcement, Volume 22, No. 3, October 1988.

“A Systems Approach to Goals and Objectives,” D. A. Dusenbury and K. M. Shelley, California
Peace Officer, September 1991.

EMPLOYMENT
DAVID A. DUSENBURY & ASSOCIATES 1994-Present
Police/Security Consultants/Experts
Long Beach, California
AMERICAN PROTECTIVE SERVICES 1997-1998
Los Angeles, California

Assistant Branch Manager. Responsible for the supervision and management of approximately 575
personnel Supervised account managers, project managers and site supervisors. Responsible for
contract security at high-rise building accounts in central, mid-Wilshire and, Century City areas of Los
Angeles. Conducted “Security Vulnerability Surveys”. Trained new security officers on the law
(Classroom Basic Training).

‘AMERICAN PROTECTIVE SERVICES 1995-1997
Long Beach, California

Assistant Branch Manager. Responsible for the supervision and management of approximately 475
personnel. Management of field supervision, payroll, personnel, scheduling, petro-chemical and high-
rise building accounts. Conducted “Security Vulnerability Surveys”. Trained new security officers on
the law (Classroom Basic Training).

AMERICAN PROTECTIVE SERVICES 1991-1995
Los Angeles, California

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Assistant Branch Manager. Responsible for the supervision and management of approximately 575
personnel Supervision of 4 account managers, 6 project managers and 13 site supervisors assigned to
the high-rise Division. Responsible for 19 high-rise building accounts: in the central, mid- Wilshire,
and Century City areas, of Los Angeles. Conducted “Security Vulnerability Surveys”. Trained new
security officers on the law (Classroom Basic Training).

LONG BEACH POLICE DEPARTMENT (Service Retirement - 30 Years) 1968-1991
Long Beach, California

DEPUTY CHIEF OF POLICE - July 28, 1990 to December 31, 1991

Assignment: Support Bureau
Staff 364
Budget: $22,747,000

Management of Budget, Communications, Food Services, Jail, Records, and Traffic Divisions.
Activities of Bureau included management of department budget ($91,257,000); processing,

housing and feeding of 36,000 prisoners annually. Traffic Division consisted of 30 motorcycle
officers, an Accident Investigation Detail, Parking Enforcement Officers, a Commercial Enforcement
Unit, and a School Crossing Guards Unit. NCCJ Board of Directors, Long Beach Chapter.
Developed policies and procedures for a new division (Food Services, formerly within the Jail
Division), reducing costs by 10%. Conducted “Use of Force Study” for the Chief of Police,
surveying 14 California police departments, including Sacramento, San Diego, San Francisco,
San Jose, and Oakland. Study encompassed examination of policies and procedures relative to
the use of force; receipt of citizen complaints; the role of first-line supervision in the
investigation of citizen complaints; the reporting and investigation of use of force; and the
control and supervision of police pursuits.

DEPUTY CHIEF OF POLICE - January 16, 1988 to July 27, 1990

Assignment: Detective Bureau
Staff: 195
Budget: $14,569,000

Management of Detective, Juvenile, and Special Investigations (Crime Suppression, Drug
Investigations, Vice Investigations) Divisions. Activities of bureau included all follow-up
investigations (except traffic), Crime Analysis, Crime Laboratory, and Major Violators Unit.
Supplemented an existing Managing Criminal Investigations (MCI) component with an assigned case
priority system. Managed the Career Criminal Apprehension Program (Crime Analysis) and Property
Crimes Grants. Developed the Investigator Training Program. Expanded the Drug Abuse Resistance
Education (D.A.R.E.) Program to the middle schools. Consolidated the processing of local permits
and Alcoholic Beverage Control licensing. Directed and supervised the revision of Shooting, In-
Custody Death and Use of Force Review Boards policies and procedures. Reduced the number
of “out of policy” shootings through more stringent review of “officer involved shootings”.
Chaired these boards and made disciplinary and training recommendations to the Chief of
Police. Conducted “Skelly” (administrative appeal) hearings.

DEPUTY CHIEF OF POLICE - May 24, 1986 to January 15, 1988
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Assignment: Executive Operations Bureau
Staff: 44
Budget: $3,200,000

Management of Community Relations, Gang Unit, Intelligence, Internal Affairs, Police Officer /
Reserve Officer Recruitment. Expanded Neighborhood Watch Program participation by 50%.
Enhanced credibility of the Internal Affairs Section by re-assignment and re-organization. Revised
police officer selection process/improved affirmative action hiring, achieving a 40% ratio through
intensive recruitment of minorities. Developed an “ethics” training program for all department
personnel.

POLICE COMMANDER - February 16, 1985 to May 23, 1986

Assignment: Criminal Investigations Division
Staff: 127
Budget: $7,703,000

Management of adult criminal and juvenile investigations; the collection and preservation of
criminal evidence and criminalistics laboratory functions. Directed re-assessment of division
structure, equipment and personnel; instituted appropriate changes. Member of Los Angeles County
Coordinating Committee for establishing the Los Angeles County Regional Automated

Fingerprint Identification System. Instituted changes which resulted in substantial savings to the

City of Long Beach and other independent cities. Member of the Security Subcommittee-Fire/Life
Safety Committee for the Long Beach-Los Angeles Light Rail Project.

POLICE LIEUTENANT - November 28, 1981 to February 15, 1985.
Assignment: Vice Investigations Section
Staff 14
Budget: $1,000,000

Management of prostitution, lewd conduct, bookmaking (supervision, preparation and execution of
search warrants), gambling, alcoholic beverage control law enforcement, and enforcement of
various local ordinance laws. Responsible for the re-examination of bingo law enforcement resulting
in suspension and revocation of some permits. Instrumental in maintaining appropriate lewd conduct
enforcement. Facilitated the appropriate re-assignment of some section personnel.

POLICE SERGEANT - February 1, 1976 to November 27, 1981

Assignments: Records Division (Report Review- review of reports for completeness,
compliance with policy and procedure, elements of crime, probable cause
for arrest, investigative follow-up, etc.); Patrol (Station Supervisor); Patrol
(Field Supervisor). Supervised Reporting Office and Information Desk
personnel. Acted as Station Commander on regular basis. Patrol Bureau
field supervisor on the Evening and Morning Watch Shifts.

POLICE PATROLMAN - June 1, 1968 to January 31, 1976
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Assignments: Patrol (Evening Watch, Mid-Watch, Morning Watch Shifts), Communications,
Juvenile and Detectives (undercover enforcement unit targeting felony
offenders; preparation and execution of search warrants).

LYNWOOD POLICE DEPARTMENT
Lynwood, California

POLICE OFFICER = - August 4, 1961 to May 31, 1968

Assignments: Patrol (2 years), Traffic Officer (motorcycle) (3 years). On “Military Leave”

for 2 years.
MILITARY

U.S. ARMY 1963-65

57th Military Police Company

United States Military Academy

West Point, New York

MEMBERSHIPS

American Mensa Limited
American Philatelic Society

American Society for Industrial Security

Association of Certified Fraud Examiners — Associate Member

California Peace Officers’ Association

California State University at Los Angles Alumni Association (Life Member)
International Association of Chiefs of Police

Stanford Athletics Buck Cardinal Club

kkKKK

My consultation/expert witness fee is $225.00 per hour for all case-related activities,
including, but not necessarily limited to, review of reports and depositions,
telephonic and in-person conferences, on-site inspections, investigation, travel time,
etc. Trial testimony will be billed at $350.00 per hour, minimum of 4 hours. Deposition
fees are to be paid by opposing counsel at the time of the deposition. THE HOURLY RATE
FOR DEPOSITION TESTIMONY IS $350.00 PER HOUR, WITH A MINIMUM 4 HOURS. IF THE

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HOURS. IF THE DEPOSITION TAKES LESS THAN 4 HOURS, THE REMAINING HOURS

UNPAID BY OPPOSING COUNSEL WILL BE BILLED TO AND BE THE RESPONSIBILITY OF
RETAINING COUNSEL. Deposition testimony fees are to be made payable to “David A.

Dusenbury and Associates”, regardless of who is the designated deponent. Trial testimony will
be billed at $350.00 per hour, minimum of 4 hours. Travel time to and from depositions
and court testimony will be billed at the $175.00 per hour. Court testimony beyond
100 miles will be billed as an 8-hour minimum per day; time beyond 8 hours will be
billed at the $350.00 hourly rate. Telephone, mail, and ground travel (within 50 miles)
costs are included in the hourly rate. Commercial transportation, hotel
accommodations, and meals will be billed separately, at actual cost.

Sincerely,

Dauid A, Dasenbury
David A. Dusenbury

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